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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 US DOMINION, INC., DOMINION                      )
 VOTING SYSTEMS, INC., and                        )
 DOMINION VOTING SYSTEMS                          )
 CORPORATION                                      )
 c/o Cogency Global                               )
 1025 Vermont Ave, NW, Ste. 1130                  )
 Washington, DC 20005,                            )
                                                  )
        Plaintiffs,                               )
                                                  )
            v.                                    )       Case No.
                                                  )
 RUDOLPH W. GIULIANI                              )
 45 East 66th Street, Apt. 10W                    )
 New York, NY 10065,                              )
                                                  )
        Defendant.                                )
                                                  )

                       COMPLAINT AND DEMAND FOR JURY TRIAL

       1.        During a court hearing contesting the results of the 2020 election in Pennsylvania,

Rudy Giuliani admitted that the Trump Campaign “doesn’t plead fraud” and that “this is not a

fraud case.” Although he was unwilling to make false election fraud claims about Dominion and

its voting machines in a court of law because he knew those allegations are false, he and his allies

manufactured and disseminated the “Big Lie,” which foreseeably went viral and deceived millions

of people into believing that Dominion had stolen their votes and fixed the election. Giuliani

reportedly demanded $20,000 per day for that Big Lie. But he also cashed in by hosting a podcast

where he exploited election falsehoods to market gold coins, supplements, cigars, and protection

from “cyberthieves.” Even after the United States Capitol had been stormed by rioters who had

been deceived by Giuliani and his allies, Giuliani shirked responsibility for the consequences of

his words and repeated the Big Lie again. This defamation action follows.



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       2.      Dominion was founded for the purpose of creating a fully auditable paper-based

vote system that would empower people with disabilities to vote independently on verifiable paper

ballots.1 As it grew, Dominion developed technology to solve many of the technical and voter-

intent issues that came to light as a result of the 2000 election. Its systems are certified under

standards promulgated by the U.S. Election Assistance Commission (“EAC”), reviewed and tested

by independent testing laboratories accredited by the EAC, and were designed to be auditable and

include a paper ballot backup to verify results. Indeed, recounts of paper ballots have repeatedly

shown that Dominion machines accurately counted votes in the 2020 election—conclusively

disproving the election-fixing claims promoted by Giuliani and his allies.

       3.      As a result of the defamatory falsehoods peddled by Giuliani—in concert with

Sidney Powell, Russell Ramsland, L. Lin Wood, Mike Lindell, Patrick Byrne, Lou Dobbs, Fox

News, Fox Business, Newsmax, One America News Network (“OAN”), The Epoch Times, and

other like-minded allies and media outlets determined to promote a false preconceived narrative

about the 2020 election—Dominion’s founder and employees have been harassed and have

received death threats, and Dominion has suffered unprecedented and irreparable harm.

       4.      Dominion brings this action to set the record straight, to vindicate the company’s

rights under civil law, to recover compensatory and punitive damages, and to stand up for itself,

its employees, and the electoral process.




1
 “Dominion” refers to Plaintiffs, US Dominion, Inc. and its subsidiaries, Dominion Voting
Systems, Inc., and Dominion Voting Systems Corporation.

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                                                   PARTIES

           5.        Plaintiff US Dominion, Inc. is a for-profit Delaware corporation with its principal

place of business in Denver, Colorado.

           6.        Plaintiff Dominion Voting Systems, Inc. is a for-profit Delaware corporation with

its principal place of business in Denver, Colorado.

           7.        Plaintiff Dominion Voting Systems Corporation is a for-profit Ontario corporation

with its principal place of business in Toronto, Ontario.

           8.        Defendant Rudolph Giuliani was formerly the mayor of New York City, the

Associate Attorney General of the United States, and a United States Attorney for the Southern

District of New York. He is now a YouTube podcast host, a radio show host, a media figure, and

the personal attorney to Donald J. Trump. He is domiciled in New York but has spent most of his

time in Washington, D.C., during the events giving rise to this case.

                                      JURISDICTION AND VENUE

           9.        This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

there is complete diversity of citizenship between Plaintiffs and Defendant and the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

           10.       This Court has personal jurisdiction over Giuliani pursuant to § 13-423 of the

District        of   Columbia    Code    because    Giuliani:   (i)   transacted   business   within   the

District of Columbia, including by demanding $20,000 per day to represent Donald J. Trump in

his efforts to overturn the 2020 election and by selling advertisements that were featured in his

defamatory broadcasts about Dominion; (ii) caused tortious injury by acts committed within the

District of Columbia, including and specifically by making false and defamatory statements about

Dominion from within the District of Columbia on Twitter, on his podcast and radio shows, on

televised media appearances, and at the “Save America” rally before the storming of the


                                                      3
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U.S. Capitol on January 6, 2021; and (iii) caused tortious injury by acts committed outside the

District of Columbia while regularly doing business within, engaging in persistent conduct within,

and deriving substantial revenue from services rendered within the District of Columbia.

       11.     Requiring Giuliani to litigate these claims in the District of Columbia does not

offend traditional notions of fair play and substantial justice and is permitted by the Due Process

Clause of the United States Constitution. Dominion’s claims arise in part from defamatory

statements Giuliani made about Dominion from within the District of Columbia, and Giuliani

avails himself of numerous privileges in the District of Columbia, including those set forth above.

       12.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part

of the events giving rise to the claims in this Complaint occurred in this District and, as discussed

above, because Giuliani is subject to the Court’s personal jurisdiction in this District.

                                  FACTUAL ALLEGATIONS

     Giuliani Enriches Himself by Falsely Claiming That Dominion Fixed the Election—
       A Claim He Was Not Willing to Make in Court Because He Knew It Was False

       13.     By at least Election Day 2020, Giuliani had decided to claim that Donald Trump

had won the election, regardless of the facts. Sitting in the White House just after midnight on

election night, Giuliani ranted to top campaign aides: “[t]here’s no way he lost; this thing must

have been stolen. Just say we won Michigan! Just say we won Georgia! Just say we won the

election! He needs to go out and claim victory!”2

       14.     The day after the election, Patrick Byrne got in touch with Rudy Giuliani and

Sidney Powell in Washington, D.C., and told them that he had known months earlier that “goons”


2
  Jonathan Swan & Zachary Basu, Off the Rails: Episode 1: A premeditated lie lit the fire, Axios
(Jan. 16, 2021), available at, https://www.axios.com/trump-election-premeditated-lie-ebaf4a1f-
46bf-4c37-ba0d-3ed5536ef537.html (Ex. 108). Exhibit numbers referenced within are either used
in or consecutively numbered with a related case, Dominion v. Powell, No. 21-cv-000040 (D.D.C.
Jan. 8, 2021).

                                                  4
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were going to steal the election, that he had started funding a plan in August, that he “had this

plotted out what they were going to do,” and that he had “reverse engineered” how the election

was stolen.3

       15.     The next day, Giuliani and Powell showed up at the Trump Campaign’s

headquarters and Powell started pressing the campaign to focus suspicion on Dominion, saying

that the Dominion strategy was ideal because it would draw into question the accuracy of the vote

in so many states.4 At least one Trump Campaign official was surprised by Powell’s sudden

involvement and observed that Powell did not seem interested in having evidence.5 When Trump

Campaign attorneys Justin Clark and Matt Morgan sought evidence from Powell, she produced

none. They then told others that they should not present the Dominion theory because there was

no evidence for it.6 Indeed, Byrne later explained that while Powell had been “totally super

receptive” to his election-fixing claims about Dominion, his claims were “a little farfetched for

other people in Washington” and Giuliani “came at this a bit differently.”7




3
  Patrick Byrne Explains Trump Path to Victory, Corsi Nation (Dec. 24, 2020), available at,
https://www.stitcher.com/show/corsi-nation-by-jerome-r-corsi-phd/episode/dr-corsi-news-12-24-
20-patrick-byrne-explains-trump-path-to-victory-80388895 (last visited Jan. 18, 2021) (Ex. 22).
Byrne was previously the CEO of Overstock.com, but abruptly resigned his board seat and position
as CEO after it was revealed that he had had a romantic affair with a Russian agent, Maria Butina,
who was sentenced to 18 months in prison after being indicted by federal prosecutors for trying to
infiltrate powerful political circles in the United States at the direction of the Russian government.
See Michael Corkery, Overstock C.E.O. Takes Aim at ‘Deep State’ After Romance With Russian
Agent, N.Y. Times (Aug. 15, 2019), available at, https://www.nytimes.com/2019/08/15/business/
overstock-paul-byrne-maria-butina-affair.html (Ex. 21).
4
  Aaron C. Davis, Josh Dawsey, Emma Brown & Jon Swaine, For Trump Advocate Sidney Powell,
a playbook steeped in conspiracy theories, Wash. Post (Nov. 28, 2020), available at,
https://www.washingtonpost.com/investigations/sidney-powell-trump-kraken-
lawsuit/2020/11/28/344d0b12-2e78-11eb-96c2-aac3f162215d_story.html (Ex. 23).
5
  Id.
6
  Id.
7
  Ex. 22.

                                                  5
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       16.     People close to Trump have said that Giuliani encouraged Trump to believe a

number of conspiracy theories about voting machine irregularities, and some Trump allies feared

that Giuliani was encouraging Trump to continue the fight because he saw financial advantage for

himself.8 Multiple people briefed on the matter said that Giuliani asked the Trump Campaign to

pay him $20,000 a day.9

       17.     On November 9, 2020, the Trump Campaign filed a complaint challenging the

legitimacy of mail-in ballots and the conduct of election officials in Pennsylvania.10 Notably,

although Dominion machines were used in Pennsylvania in the 2020 election, the Trump

Campaign’s complaint did not include any allegations about Dominion.

       18.     A few days later, Giuliani gave a televised interview on Lou Dobbs Tonight, falsely

telling a global audience that Dominion is owned by Smartmatic and that Smartmatic was formed

“in order to fix elections” by “three Venezuelans who were very close to … the dictator Chávez

of Venezuela.” He also claimed that “Smartmatic, the company that owns Dominion” was being

run by one of the people who was number two or three in George Soros’s organization.11 The next

day, on his weekday radio show, Giuliani falsely told his audience that “Dominion software …

really is Venezuelan … it’s called Smartmatic.”12 The day after that, Giuliani falsely tweeted that




8
  Michael S. Schmidt & Maggie Haberman, Giuliani Is Said to Seek $20,000 a Day Payment for
Trump Legal Work, N.Y. Times (Jan. 14, 2021), available at, https://www.nytimes.com/2020/11/
17/us/politics/giuliani-trump-election-pay.html (Ex. 113).
9
  Id.
10
   Verified Complaint for Declaratory and Injunctive Relief, Donald J. Trump for President, Inc.
v. Boockvar, No. 4:20-cv-02078 (M.D. Pa. Nov. 9, 2020) [Dkt. 1].
11
   Lou Dobbs Tonight, Fox Business (Nov. 12, 2020), available at, https://twitter.com/LouDobbs/
status/1327024215887851521 (last visited Jan. 20, 2021) (Ex. 109).
12
   Chat with the Mayor: Major Challenges, 77WABC (broadcast from Washington, D.C., Nov.
13, 2020), available at, https://wabcradio.com/episode/major-challenges-11-13-2020/
 (last visited Jan. 18, 2021) (Ex. 110).

                                                6
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Dominion is “a front for Smartmatic.”13      His tweet was liked over 81,000 times and was

foreseeably retweeted over 32,000 times.

       19.     On November 13, 2020, Giuliani posted an episode of his podcast, in which he

capitalized on publicity he was receiving because of the Big Lie about Dominion. Along with the

false accusation that Dominion had stolen the election “technologically,” Giuliani warned his

viewers about “cyberthieves” stealing home titles “online,” and threw his arms in the air as if to

emphasize the obvious danger of entrusting important matters to technology.14




       20.     Giuliani then pitched his viewers on a service they could buy to protect themselves

for just $596 for the 4-year service if they used the promo code “Rudy” when ordering.15




13
   Rudy W. Giuliani (@RudyGiuliani), Twitter (Nov. 14, 2020), available at, https://twitter.com/
RudyGiuliani/status/1327616396939948032 (last visited Jan. 20, 2021) (Ex. 111).
14
   REVEALED: Sworn Evidence of Pervasive Voter Fraud, Rudy Giuliani’s Common Sense
(broadcast from Washington, D.C., Nov. 13, 2020), available at, https://www.youtube.com/watc
h?v=sd-5Xm5PFmg&list=PLlMn0a7NgIUZIGjQVofrk1M3Ulqdc7_-4&index=15 (last visited
Jan. 19, 2021) (Ex. 112).
15
   Id.

                                                7
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          21.        Also during that defamatory podcast, Giuliani claimed supplements would cure his

viewers’ achy joints and muscles and implored them to “stop wasting money and switch.”16 He

instructed them to use his name when ordering and said they could get a second bottle free if they

ordered “now.”




16
     Id. at 21:00.

                                                     8
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       22.    On November 14, Donald Trump tweeted: “I look forward to Mayor Giuliani

spearheading the legal effort to defend OUR RIGHT to FREE and FAIR ELECTIONS!

Rudy Giuliani, Joseph diGenova, Victoria Toensing, Sidney Powell, and Jenna Ellis, a truly great

team, added to our other wonderful lawyers and representatives!”17 The tweet went out to Trump’s

then-88 million followers, was retweeted over 66,000 times, and received over 325,000 likes.




17
   Donald J. Trump (@realDonaldTrump), Twitter (Nov. 14, 2020), previously available at,
https://twitter.com/realdonaldtrump/status/1327811527123103746 (last visited Jan. 4, 2021) (Ex.
106).

                                               9
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        23.    The next day, on November 15, the Trump Campaign filed an amended complaint

in the Pennsylvania case, mistakenly withdrawing certain counts.18 The amended complaint did

not contain any allegations about Dominion.

        24.    That same day, during his radio show and a televised interview on Fox News’s

Sunday Morning Futures with Maria Bartiromo, Giuliani repeated the falsehoods the Trump

Campaign had twice declined to make under penalty of Rule 11 sanctions in court, namely, that

Dominion “uses Venezuela[] company software that’s been used to steal elections in other

countries,” that Dominion uses software by Smartmatic, a company “that was founded by Chávez

and by Chávez’s two allies who still own it,” that “it’s really being run by people that are close to

Maduro and Chávez,” that the company “has tried and true methods for fixing elections,” and that

Dominion “notifies” election officials when they are too far behind so they can add in fake

ballots.19




18
   First Amended Verified Complaint for Declaratory and Injunctive Relief, Donald J. Trump for
President, Inc. v. Boockvar, No. 4:20-cv-02078 (Nov. 15, 2020) [Dkt. 125].
19
   Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan: Voter Fraud, 77WABC (Giuliani’s
appearance broadcast from Washington, D.C., Nov. 15, 2020), available at, https://wabcradio.co
m/podcast/uncovering-the-truth-with-rudy-giuliani-maria-ryan/ (last visited Jan. 18, 2021) (Ex.
114); Giuliani: Trump is contesting the election ‘vigorously’ in the courts, Fox News (Giuliani’s
interview broadcast from Washington, D.C., Nov. 15, 2020), available at, https://video.foxnews.c
om/v/6209933935001 (last visited Jan. 20, 2021) (Ex. 115).

                                                 10
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       25.     On November 17, Giuliani filed a petition for pro hac vice admission in the Trump

Campaign’s Pennsylvania lawsuit and, the following day, filed and signed a motion for leave to

file a second amended complaint and the proposed second amended complaint itself.20 By signing

the various iterations of the complaint, Giuliani and the Trump Campaign’s other attorneys

certified that, to the best of their knowledge, information, and belief, formed after an inquiry

reasonable under the circumstances, the factual contentions in the complaints had evidentiary

support. See Fed. R. Civ. P. 11. Notably, not a single one of the three complaints signed and

filed by Giuliani and other attorneys for the Trump Campaign in the Pennsylvania action

contained any allegations about Dominion.21

       26.     The day after Giuliani had signed and filed the Trump Campaign’s second amended

complaint in the Pennsylvania action—which again, contained zero allegations about Dominion—

Giuliani took to his weekday radio show to repeat the false accusation that “Dominion … is

originally a company from Venezuela that was put together in order to help Chávez win in

Venezuela” and “has expertise in subtly changing the vote.”22

       27.     Later that day, Giuliani broadcast an episode of his podcast, again repeating false

accusations about Dominion and again airing his direct-to-camera pitch for protection from




20
   Petition for Pro Hac Vice Admission by Rudolph Giuliani, Donald J. Trump for President, Inc.
v. Boockvar, No. 4:20-cv-02078 (M.D. Pa. Nov. 17, 2020) [Dkt. 156]; Second Amended
Complaint, Donald J. Trump for President, Inc. v. Boockvar, No. 4:20-cv-02078 (M.D. Pa. Nov.
18, 2020) [Dkt. 172].
21
   Although a Missouri-based attorney representing the Trump Campaign signed his name to a
pleading falsely alleging that Dominion machines were at fault for the initial misreporting of
election results in Antrim County, Michigan, he did not allege that Dominion had fixed the election
or been created in Venezuela for the purpose of rigging elections. See Donald J. Trump for
President, Inc. v. Benson, No. 1:20-cv-01083 (W.D. Mich. Nov. 11, 2020) [Dkt. 1].
22
   Chat with the Mayor: Those are the Facts, 77WABC (broadcast from Washington, D.C., Nov.
18, 2020), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 18, 2021)
(Ex. 116).

                                                11
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cyberthieves.23 After decrying how an American election had been fixed by a Venezuelan-owned

company, Giuliani marketed cigars from an “American-owned” company, offering “$20 off orders

over $100” if his viewers used the code “Rudy20” when ordering.24




       28.    Giuliani also tweeted out that YouTube podcast (and its ads) to his more than one

million followers, garnering more than 9,000 retweets and more than 25,000 likes.25




23
    American Votes Tallied in Foreign Countries, Rudy Giuliani’s Common Sense (broadcast
from Washington, D.C., Nov. 18, 2020), available at, https://www.youtube.com/watch?v=VOG1
yOjSAd4 (last visited Jan. 18, 2021) (Ex. 117).
24
   Id.at 21:43-23:13.
25
   Rudy W. Giuliani (@RudyGiuliani), Twitter (Nov. 18, 2020), available at, https://twitter.com/
RudyGiuliani/status/1329208126931955715 (last visited Jan. 18, 2021) (Ex. 118).

                                              12
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       29.    The same day he released that episode, Giuliani appeared for a televised interview

on the Fox Business show Lou Dobbs Tonight. He repeated his lies about Dominion and falsely

represented that Congresswoman Maloney wrote a letter supporting his false claims.26 In reality,

the Maloney letter said nothing about Dominion.27




       30.    On November 19, Donald Trump invited more than 88 million Twitter followers to

tune in for an “Important News Conference today by lawyers on a very clear and viable path to

victory. Pieces are very nicely falling into place. RNC at 12 p.m.”28 At noon that day, despite

the fact that U.S. Cybersecurity & Infrastructure Security Agency (“CISA”) director and Trump

appointee Chris Krebs had already publicly confirmed a week earlier that there was no voting



26
   Giuliani returns to court to argue Trump campaign’s election case, Fox Business (Giuliani
interview broadcast from Washington, D.C., Nov. 18, 2020), available at, https://video.foxbusine
ss.com/v/6210778333001?playlist_id=933116636001 (last visited Jan. 18, 2021) (Ex. 119).
27
   Letter from Congresswoman Maloney to Henry M. Paulson (Oct. 6, 2006), Complaint at Ex. 24,
Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1-24], available at,
https://defendingtherepublic.org/?page_id=986.
28
   Donald J. Trump (@realDonaldTrump), Twitter (Nov. 19, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1329408856733184008 (last visited Jan. 4, 2021)
(Ex. 31).

                                              13
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machine manipulation in the 2020 election,29 Giuliani gave a televised press conference alongside

Sidney Powell and Jenna Ellis at the Republican National Committee headquarters in Washington,

D.C., in which he peddled the falsehoods that he and other Trump Campaign attorneys were

apparently unwilling to make in their own court filings, namely, that Dominion provided a

“Venezuelan voting machine” and “is owned by two Venezuelans who were allies of Chávez, are

present allies of Maduro,” and “whose Chairman is a close associate and business partner of

George Soros.”30




     Standing with Sidney Powell and Jenna Ellis, Rudy Giuliani speaks during a televised
     press conference from the Republican National Committee headquarters in
     Washington, D.C., on November 19, 2020.

       31.    In addition, Giuliani held Sidney Powell out as representing Donald Trump and the

Trump Campaign, even though he knew she would tell a global television audience the same lies


29
   Cybersecurity & Infrastructure Security Agency, Joint Statement From Elections Infrastructure
Government Coordinating Council & The Election Infrastructure Sector Coordinating Executive
Committees (Nov. 12, 2020), available at, https://www.cisa.gov/news/2020/11/12/joint-statement-
elections-infrastructure-government-coordinating-council-election (Ex. 19).
30
   Trump Campaign News Conference on Legal Challenges, C-SPAN (Nov. 19, 2020), available
at, https://www.c-span.org/video/?478246-1/trump-campaign-alleges-voter-fraud-states-plans-
lawsuits (last visited Jan. 18, 2021) (Ex. 32).

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about Dominion that Giuliani himself was unwilling to make in court, but which Giuliani had been

promoting on television and online. Standing with Giuliani, Powell falsely claimed that Dominion

was “created in Venezuela at the direction of Hugo Chávez to make sure he never lost an election,”

that Dominion flipped votes from Trump to Biden by running an algorithm that automatically flips

all the votes, and that George Soros’s “number two person” Lord Malloch Brown was “one of the

leaders of the Dominion project.” Based on these false assertions of fact, Powell stated, “[t]here

should never be another election conducted in this country… using a Dominion machine …”31

Later that day, Giuliani used his weekday radio show to promote those falsehoods about

Dominion.32

       32.     Video of the D.C. press conference was foreseeably tweeted by the GOP and by

Giuliani’s client, Donald Trump, to his more than 88 million followers, garnering over 240,000

likes and over 24,000 comments, and being foreseeably retweeted over 58,000 times—instantly

and irreparably damaging Dominion’s reputation and business to a global audience and putting the

lives of Dominion employees in danger.33

       33.     The same day as the press conference, Fox News’s Tucker Carlson reported that,

despite his explicit requests, neither Sidney Powell nor “others around the Trump campaign” had

provided any evidence to support the claims that had been made against Dominion. Instead,




31
   Id.
32
   Chat with the Mayor: Fraud and Lies, 77WABC (broadcast from Washington, D.C., Nov. 19,
2020), available at, https://wabcradio.com/episode/those-are-the-facts-11-18-2020/ (last visited
Jan. 19, 2021) (Ex. 120).
33
    Donald J. Trump (@realDonaldTrump), Twitter (Nov. 20, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1329760015314464770?s=20 (last visited Jan. 4, 2021)
(Ex. 34).

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Carlson reported, others around the Trump Campaign and “people in positions of authority” said

that “Powell ha[d] never given them any evidence either.”34

       34.     Despite the lack of evidence expressly acknowledged by Tucker Carlson and others

at Fox News, Fox News gave Giuliani a platform on Sean Hannity’s show that very evening to

make the false accusation that “a Dominion employee” in Detroit on election night had been

“notified by Smartmatic in Frankfurt that Biden was way behind.”35 Giuliani warned, “[t]hese

people want to destroy us. They are very, very bad people. … Somehow, the Democrat party was

highjacked by Clinton, and since then, it’s gone more corrupt and more corrupt and more corrupt.”

Then, making a throat-slashing motion, Giuliani instructed viewers: “Somebody’s got to cut the

head off.”36




34
   MUST-SEE: Tucker Carlson ABANDONS Trump’s election fraud case on air, YouTube (Nov.
19, 2020), available at, https://www.youtube.com/watch?v=BspHzH6RRxo (last visited Jan. 18,
2021) (Ex. 33).
35
   Giuliani: Dems plotted ‘national conspiracy’ to steal 2020 election, Fox News (Giuliani’s
interview broadcast from Washington, D.C., Nov. 19, 2020), available at, https://video.foxnews.c
om/v/6211099886001?playlist_id=930909813001 (last visited Jan. 19, 2021) (Ex. 121).
36
   Id.

                                               16
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       35.     On November 20, 2020, after a hand count of 100% of the paper ballots cast in

Georgia’s election verified the accuracy of the counts from Dominion machines, Georgia’s

Republican Governor Kemp and Secretary of State Raffensperger certified the state’s election

results.37 That same day, Giuliani doubled down on the disproven lies about Dominion on his

weekday radio show,38 and then on his podcast, falsely claimed that Dominion “interfered with the

vote” and “this election was stolen.”39 Sidney Powell called the Georgia certification a “farce”

and falsely accused Dominion of bribing Georgia’s governor and secretary of state.40

       36.     On November 22, during an interview on ABC News’s This Week, Trump loyalist

Chris Christie gave an interview in which he stated “[i]f you’ve got the evidence of fraud, present

it. … The conduct of the president’s legal team has been a national embarrassment. … If you’re

unwilling to come forward and present the evidence, it must mean the evidence doesn’t exist.”41

       37.     That same day, Giuliani issued the following statement: “Sidney Powell is

practicing law on her own. She is not a member of the Trump Legal Team. She is also not a

lawyer for the President in his personal capacity.”




37
   See Kate Brumback, Georgia officials certify election results showing Biden win, Associated
Press (Nov. 20, 2020), available at, https://apnews.com/article/georgia-certify-election-joe-biden-
ea8f867d740f3d7d42d0a55c1aef9e69 (Ex. 35).
38
    Chat with the Mayor: The Mob Was Easier to Deal With, 77WABC (broadcast from
Washington, D.C., Nov. 20, 2020), available at, https://wabcradio.com/episode/the-mob-was-
easier-to-deal-with-11-20-2020/ (last visited Jan. 19, 2021) (Ex. 122).
39
   Legal Strategy: Multiple Pathways to Victory, Rudy Giuliani’s Common Sense (broadcast
from Washington, D.C., Nov. 20, 2020), available at, https://www.youtube.com/watch?v=H0h6s
RuC8bQ (last visited Jan. 19, 2021) (Ex. 123).
40
   Sidney Powell: It will be BIBLICAL, Newsmax TV (Nov. 21, 2020), available at, https://www.
youtube.com/embed/Y68pEknYyCM?rel=0&start=0 (last visited Jan. 4, 2021) (Ex. 36).
41
   Paul Kane & Felicia Sonmez, Chris Christie calls the conduct of Trump’s legal team a ‘national
embarrassment,’ Wash. Post (Nov. 22, 2020), available at, https://www.washingtonpost.com/poli
tics/republicans-christie-trump-concede/2020/11/22/05c280e6-2cda-11eb-bae0-
50bb17126614_story.html (Ex. 37).

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  Knowing That the Claims Against Dominion Were False, Rudy Giuliani and the Trump
Campaign Decline to Sign on to the Sham Litigations Filed by Sidney Powell and L. Lin Wood

       38.    On November 25, Powell and her Georgia-based ally and co-counsel L. Lin Wood

filed lawsuits together in federal courts in Georgia and Michigan. (Wood is known for using

Twitter—until his account was permanently suspended on January 6, 2021—and Parler—before

it was de-platformed—to falsely accuse Chief Justice John G. Roberts of being a child-murdering

pedophile and to call for Vice President Mike Pence to be executed by “firing squad” for

“treason.”42) In their lawsuits, Powell and Wood alleged “massive election fraud” in the 2020

election, claiming that Dominion was “founded by foreign oligarchs and dictators to ensure

computerized ballot-stuffing and vote manipulation to whatever level was needed to make certain



42
  Lin Wood (@LLinWood), Twitter (Jan. 1, 2021), previously available at, https://twitter.com/L
LinWood/status/1345067881319587840; Lin Wood (@LLinWood), Twitter (Jan. 4, 2021),
previously available at, https://twitter.com/LLinWood/status/1345991175690457091; LLinWood
(@linwood), Parler (Jan. 4, 2021), previously available at, https://parler.com/post/99be40955107
47c2928ed02a4bc41a18 (Ex. 9).

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Venezuelan dictator Hugo Chávez never lost another election.”43          The following week, on

December 1 and 2, 2020, Powell and Wood filed similar lawsuits in federal courts in Wisconsin

and Arizona, repeating their false claims of “massive election fraud.”

       39.     Neither Giuliani nor any of the Trump Campaign’s other lawyers joined or signed

their names to any of the pleadings in any of Powell’s and Wood’s sham election litigations; they

knew there was no evidence to support the claims being made about Dominion in those cases.

Indeed, two days after Powell and Wood filed their lawsuits alleging “massive election fraud” in

Georgia and Michigan—and after Giuliani had repeatedly gone on television and online to falsely

accuse Dominion of election fraud—Giuliani admitted during a court hearing in Pennsylvania that

the Trump Campaign “doesn’t plead fraud” and that “this is not a fraud case.”44

       40.     On December 1, Trump appointee and then-U.S. Attorney General Bill Barr

publicly stated, “There’s been one assertion that would be systemic fraud and that would be the

claim that machines were programmed essentially to skew the election results. And the DHS and

DOJ have looked into that, and so far, we haven’t seen anything to substantiate that.”45 That

same day, Barr told Trump that the theories about the election being stolen were “bullshit,” and




43
   Complaint at ¶ 5, Pearson v. Kemp, No. 12-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1],
available at, https://defendingtherepublic.org/wp-content/uploads/2020/11/COMPLAINT-CJ-
PEARSON-V.-KEMP-11.25.2020.pdf; Complaint for Declaratory, Emergency, and Permanent
Injunctive Relief at ¶ 5, King v. Whitmer, No. 20-cv-13134 (E.D. Mich. Nov. 29, 2020) [Dkt. 6],
available at, https://defendingtherepublic.org/wp-content/uploads/2020/11/Michigan-
Complaint.pdf.
44
   Opinion, Donald J. Trump for President v. Sec’y Commonwealth of Pa., No. 20-3371 (3d. Cir.
Nov. 27, 2020), available at, https://www2.ca3.uscourts.gov/opinarch/203371np.pdf (citing to
Mot. to Dismiss Hr’g Tr. 118:19–20, 137:18) (Ex. 124).
45
   Michael Balsamo, Disputing Trump, Barr says no widespread election fraud, Associated Press
(Dec. 1, 2020), available at, https://apnews.com/article/barr-no-widespread-election-fraud-
b1f1488796c9a98c4b1a9061a6c7f49d (Ex. 43) (all emphases added unless otherwise noted).

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that the legal team advancing those claims was “clownish.”46 Barr continued: “I’m a pretty

informed legal observer and I can’t fucking figure out what the theory is here.”47 Giuliani issued

a press release falsely accusing Barr of failing to investigate.48

       41.     By December 9, 2020, all four of the election lawsuits Powell and Wood had filed

together had been dismissed.

       42.     The United States District Court for the Eastern District of Michigan found that

Powell and Wood had submitted “nothing but speculation and conjecture that votes for President

Trump were destroyed, discarded or switched to votes for Vice President Biden.” Op. & Order at

34, King v. Whitmer, No. 20-cv-12134 (E.D. Mich. Dec. 7, 2020) [Dkt. 62].

       43.     The United States District Court for the District of Arizona found that the evidence

put forward by Powell and Wood was “largely based on anonymous witnesses, hearsay, and

irrelevant analysis of unrelated elections,” and includes “expert reports” that “reach implausible

conclusions, often because they are derived from wholly unreliable sources.” Order at 24-25,

Bowyer v. Ducey, No. 2-20-cv-02321 (D. Ariz. Dec. 9, 2020) [Dkt. 84]. The “wholly unreliable

sources” put forward by Powell and Wood in that case included Russell Ramsland and an

anonymous purported Venezuelan military officer who claimed to have previously served under

the now-deceased Venezuelan dictator Hugo Chávez.




46
   Jonathan Swan, Off the Rails: Episode 4: Trump turns on Barr, Axios (Jan. 18, 2021), available
at, https://www.axios.com/trump-barr-relationship-off-the-rails-b33b3788-e7e9-47fa-84c5-
3a0016559eb5.html (Ex. 125).
47
   Matt Naham, Bill Barr Apparently Told Trump the Stolen Election Lie Was a ‘Bullsh*t’ Theory
That He Could Not F***ing Figure Out, Law & Crime (Jan. 18, 2021), available at,
https://lawandcrime.com/2020-election/bill-barr-apparently-told-trump-the-stolen-election-lie-
was-a-bullsht-theory-that-he-could-not-fing-figure-out/?utm_source=mostpopular (Ex. 126).
48
   See Maggie Haberman (@maggieNYT), Twitter (Dec. 1, 2020), available at, https://twitter.co
m/maggieNYT/status/1333862557740888068 (Ex. 127).

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          44.    Even after Powell’s and Wood’s sham litigations had been dismissed, Giuliani

continued propagating the demonstrable falsehoods they had advanced. By way of example only,

on December 12, 2020, he appeared for a televised interview on Fox and Friends and falsely

claimed that the “Dominion machine … was developed to steal elections and [was] being used in

the states that are involved.”49

     Starting with the Claims of a Facially Unreliable Purported Venezuelan Military Officer,
     Giuliani Deliberately Embellishes His Claims and Misrepresents the Relationship Between
        Dominion and Smartmatic to Support His Defamatory Falsehoods About Dominion

          45.    Some of Giuliani’s false claims about Dominion are apparently based on the

declaration of an anonymous purported Venezuelan military officer, whose declaration was

submitted by Sidney Powell and L. Lin Wood in support of their sham litigations.50

          46.    There are several obvious reasons why Giuliani knew that source was unreliable.

          47.    First, the “anonymous witness’s” explanation for why he purportedly came

forward was a near-verbatim recitation from another declaration put forward by Powell, proving

that those witnesses did not each write their declarations independently and raising serious

questions about the role that Powell and her team played in drafting the declarations.




49
   Rudy Giuliani on Trump election fight: We have ‘1,000 affidavits from witnesses in 6 different
states,’ Fox News (Dec. 12, 2020), available at, https://video.foxnews.com/v/6215882367001?pl
aylist_id=930909787001 (last visited Jan. 19, 2021) (Ex. 128).
50
   Declaration of an anonymous source claiming to have been selected for the “national security
guard detail of the President of Venezuela,” Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. Nov.
25, 2020) [Dkt. 1-2 at ¶ 4], available at, https://defendingtherepublic.org/?page_id=986;
Complaint at Ex. 1, King v. Whitmer, No. 20-cv-13134 (E.D. Mich. Nov. 25, 2020) [Dkt. 1-1],
available at, https://defendingtherepublic.org/?page_id=1015.

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  Declaration of an anonymous source claiming        Statement by Ana Mercedes Díaz Cardozo,
  to have been selected for the “national security   Pearson v. Kemp, No. 1:20-cv-04809 (N.D.
  guard detail of the President of Venezuela,”       Ga. Nov. 25, 2020) [Dkt. 1-3 at ¶ 3].
  Pearson v. Kemp, No. 1:20-cv-04809 (N.D.
  Ga. Nov. 25, 2020) [Dkt. 1-2 at ¶ 4].

  “I want to alert the public and let the world      “I want to alert the public and let the world
  know the truth about the corruption,               know the truth about corruption,
  manipulation, and lies being committed             manipulation, and lies being committed
  by a conspiracy of people and companies            through a conspiracy of individuals and
  intent upon betraying the honest people of the     businesses with the intention of betraying
  United States and their legally constituted        the honest people of the United States and
  institutions and fundamental rights as citizens.   its legally constituted institutions and
  This conspiracy began more than a decade ago       fundamental rights as citizens. This
  in Venezuela and has spread to countries all       conspiracy began more than a decade ago in
  over the world. It is a conspiracy to wrongfully   Venezuela and has spread to countries all
  gain and keep power and wealth. It involves        over the world. It is a conspiracy to unjustly
  political leaders, powerful companies, and         gain and maintain power and wealth. It
  other persons whose purpose is to gain and         involves political leaders, powerful
  keep power by changing the free will of the        companies, and other persons whose
  people and subverting the proper course of         purpose is to gain and maintain power by
  governing.”                                        changing people’s free will and subverting
                                                     the proper course of governing.”


       48.     Second, his declaration has been redacted to conceal his identity and key details

about his background.

       49.     Third, even if he were who he purports to be, there are serious reasons to doubt the

outlandish claims of someone who worked for a dictator with an interest in undermining

confidence in American democracy.

       50.     Fourth, American Trump appointees like Chris Krebs and Bill Barr—who, unlike

the anonymous Venezuelan military officer, have never worked for a Venezuelan dictator—have

confirmed that there was no widespread voter fraud in the 2020 election.

       51.     But even if one were to credit the incredible claims of the associate of a foreign

dictator, even his declaration does not actually claim that Dominion was created in Venezuela for

the purpose of rigging elections for Hugo Chávez. Rather, his declaration makes that claim about



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Dominion’s competitor, Smartmatic. Although his declaration blithely asserts that Smartmatic

software is “in the DNA” of every vote tabulating company’s software and system, it fails to

provide any credentials, expertise, or factual basis whatsoever from which the declarant could

possibly determine what is “in the DNA” of proprietary software he never even claims to have had

access to, which is operated by multiple voting machine companies he never even claims to have

worked for.51 Moreover, as is shown from information readily available in the public domain,

voting machine companies’ source code is reviewed by third-party labs that are federally

accredited by the EAC and the National Institute of Standards and Technology (“NIST”).52 As

such, Giuliani knew or recklessly disregarded that that claim was obviously baseless and false.

       52.     In addition, if the anonymous purported Venezuelan military officer were in fact

Leamsy Villafaña José Salazar—as has been reported by the Associated Press and the

Caracas Chronicles—that would raise other serious doubts about the veracity of his declaration.

After serving Hugo Chávez, Salazar worked for Diosdado Cabello, the alleged head of a

Venezuelan drug cartel, before cooperating with the United States Drug Enforcement Agency. He



51
   Declaration of an anonymous source claiming to have been selected for the “national security
guard detail of the President of Venezuela,” Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. Nov.
25, 2020) [Dkt. 1-2 at ¶ 4], available at, https://defendingtherepublic.org/?page_id=986.
52
   See, e.g., How the U.S. Election Assistance Commission Facilitates Fair and Secure Elections,
EAC, available at, https://www.eac.gov/news/2020/12/03/how-us-election-assistance-
commission-facilitates-fair-and-secure-elections/ (Ex. 141) (“Before voting machines and election
management systems are used in elections, the systems undergo rigorous hardware and software
testing by laboratories accredited by the EAC and the National Institutes of Standards and
Technology (NIST). The testing encompasses security, accuracy, functionality, accessibility,
usability, and privacy based on requirements in the EAC’s Voluntary Voting System Guidelines
(VVSG)”); Frequently Asked Questions, EAC, available at, https://www.eac.gov/voting-
equipment/frequently-asked-questions (Ex. 129) (“the test labs will examine the source code to
ensure compliance with the voluntary voting system guidelines”); Testing & Certification
Program Manual, Version 2.0, EAC (May 31, 2015), available at, https://www.eac.gov/sites/defa
ult/files/eac_assets/1/28/Cert%20Manual%207%208%2015%20FINAL.pdf (Ex. 219) (the
[Voting System Test Laboratory] must complete the source code review of the software delivered
from the manufacturer for compliance with the [Voluntary Voting System Guidelines]”).

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is quoted in a 2016 book titled Boomerang Chávez: The Fraud that Led to Venezuela’s Collapse,

which alleges that Smartmatic (not Dominion) was involved in rigging elections for Hugo Chávez

in Venezuela. That book makes no mention of Dominion. If Salazar actually believed the

Smartmatic software were “in the DNA” of Dominion and every other American voting machine

company, surely that explosive accusation would have been mentioned in the book for which he

was a source, and surely he would have come forward when he arrived in the United States

approximately five years ago, instead of waiting until after Trump had lost the presidential

election.

       53.    In any event, Giuliani deliberately embellished the anonymous declarant’s

obviously false accusation that Smartmatic software is “in the DNA” of Dominion’s systems,

claiming, for example, that “Dominion is a company that’s owned by another company called

Smartmatic,”53 that Dominion is “a front for Smartmatic”54 and “a shell for Smartmatic,”55 and

that “Dominion sends everything to Smartmatic.”56

       54.    As evidenced by records on the Georgia Secretary of State’s website and other

public information that was readily available to Giuliani before he falsely claimed that Dominion




53
   Lou Dobbs Tonight, Fox Business (Nov. 12, 2020), available at, https://twitter.com/LouDobbs/
status/1327024215887851521 (last visited Jan. 20, 2021) (Ex. 109).
54
   Rudy W. Giuliani (@RudyGiuliani), Twitter (Nov. 14, 2020), available at, https://twitter.com/
RudyGiuliani/status/1327616396939948032 (last visited Jan. 18, 2021) (Ex. 111).
55
   Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan: Voter Fraud, 77WABC (Giuliani’s
appearance broadcast from Washington, D.C., Nov. 15, 2020), available at, https://wabcradio.co
m/podcast/uncovering-the-truth-with-rudy-giuliani-maria-ryan/ (last visited Jan. 18, 2021) (Ex.
114).
56
   Giuliani: Trump is contesting the election ‘vigorously’ in the courts, Fox News (Giuliani’s
interview broadcast from Washington, D.C., Nov. 15, 2020), available at, https://video.foxnews.c
om/v/6209933935001 (last visited Jan. 20, 2021) (Ex. 115).

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was owned by Smartmatic and was a front for Smartmatic, Dominion is Smartmatic’s competitor,

not its subsidiary.57

      Giuliani Intentionally Misrepresents What Happened in Antrim County, Michigan
                 to Bolster His False Preconceived Narrative About Dominion

        55.     On election night, the unofficial result from Antrim County, Michigan, indicated a

win for Biden. That happened because of a series of human errors by the Antrim County Clerk:

contrary to the instructions provided to her, she mistakenly failed to update all of the voting

machines’ tabulator memory cards and failed to perform the pre-election logic and accuracy testing

that would have caught her first mistake. Because of the checks and balances in place to catch

human errors, her mistakes were promptly caught as part of the normal canvass process before the

election result was made official. The official results were never impacted by the clerk’s promptly

corrected mistakes.

        56.     On November 6, 2020, the Office of Michigan’s Secretary of State publicly

announced that the “erroneous reporting of unofficial results in Antrim county was a result of

accidental error on the part of the Antrim County Clerk. The equipment and software did not

malfunction and all ballots were properly tabulated.”58 And a few days later, a spokesperson for



57
   See e.g., Georgia Secretary of State, Elections Security Is Our Top Priority: Security-Focused
Tech Company, Dominion Voting to Implement New Verified Paper Ballot System, available at,
https://sos.ga.gov/securevoting/; https://sos.ga.gov/securevoting/#:~:text=Elections%20Security
%20is%20Our%20Top%20Priority&text=(ATLANTA)%20%2D%2D%20After%20a%20compet
itive,new%20verified%20paper%20ballot%20system (Ex. 1); (listing separate bids from
Dominion and Smartmatic for Georgia’s voting systems contract, listing Georgia’s separate
evaluations of Dominion and Smartmatic, and listing the finalized August 9, 2019 contract
between Georgia and Dominion); U.S. Election Assistance Commission, Registered
Manufacturers, available at, https://www.eac.gov/voting-equipment/registered-manufacturers
(last visited Jan. 20, 2021) (Ex. 130) (listing Dominion Voting Systems Corp. and Smartmatic
USA Corporation as separate entities with separate addresses).
58
   The Office of Secretary of State Jocelyn Benson, False claims from Ronna McDaniel have no
merit (Nov. 6, 2020), available at, https://www.michigan.gov/sos/0,4670,7-127-1640_9150-
544676--,00.html (Ex. 131).

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the Michigan Secretary of State confirmed, “We have not seen any evidence of fraud or foul play

in the actual administration of the election … What we have seen is that it was smooth, transparent,

secure and accurate.”59

       57.     Intentionally disregarding the announcement from the Secretary of State, Giuliani

seized on the mundane reality of the clerk’s human error and intentionally distorted it to fit the

false preconceived narrative that Dominion had fixed the election. For example, he falsely claimed

that a “Dominion machine flipped 6000 votes from Trump to Biden” in Antrim County, Michigan

and that the “[s]pike of votes by Dominion happened all over the state.”60 He also falsely claimed

that the error in the county’s initial reported results “[h]ad nothing to do with human error,”61 that

“the machine switched the votes based on some kind of pre-programming,”62 and that the

Dominion machines in Antrim County were “62% inaccurate,”63 had a “68% error rate” and an

“81.9% rejection rate” showing that “the election in Michigan for sure was a fraud,” and that the

machines “don’t count ballots” but “calculate ballots” and have “algorithms” that “recalculate”

votes to be “half a vote” or a “third of a vote.”64 Similarly, he claimed that “Dominion … machines

… in Michigan produced a 62 percent inaccuracy rate, and an 84 percent adjudication rate which




59
   Nick Corasaniti, Reid J. Epstein & Jim Rutenberg, The Times Called Officials in Every State:
No Evidence of Voter Fraud, N. Y. Times (Nov. 10, 2020), available at, https://www.nytimes.co
m/2020/11/10/us/politics/voting-fraud.html (Ex. 16).
60
   Rudy W. Giuliani (@rudygiuliani), Twitter (Dec. 4, 2020), available at, https://twitter.com/Ru
dyGiuliani/status/1335014224532221952 (last visited Jan. 19, 2021) (Ex. 132).
61
   Joe Pags Show, Twitch (Dec. 14, 2020), available at, https://www.twitch.tv/videos/837601732
?filter=all&sort=time (last visited Jan. 19, 2021) (Ex. 133).
62
   DISCOVERY: 68% ERROR Rate in Votes PROVES Intentional Fraud, Rudy Giuliani’s
Common Sense (broadcast from Washington, D.C., Dec. 18, 2020), available at, https://www.yo
utube.com/watch?v=UUtmBrgIC9w (last visited Jan. 19, 2021) (Ex. 134).
63
   The Glenn Beck Program, Blaze TV (Dec. 17, 2020), available at, https://twitter.com/glennbec
k/status/1339722041545555968 (last visited Jan. 19, 2021) (Ex. 135).
64
   Ex. 133.

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means that only 16 percent of the votes in that county were actually cast by people.”65 He also

falsely proclaimed that, in Antrim County, “[t]he machine flipped the vote. In other words when

you pressed down Biden, you got Trump, and when you pressed down Trump you got Biden.”66

Giuliani repeated these false claims on his podcast,67 his weekday radio show,68 his Sunday

morning radio show,69 and Twitter, garnering over 16,000 retweets and over 43,000 likes.70




65
    Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan, 77WABC (Dec. 20, 2020),
available at, https://wabcradio.com/episode/uncovering-the-truth-12-20-20/ (last visited Jan. 19,
2021) (Ex. 136).
66
   Chat with the Mayor: Major Challenges, 77WABC (broadcast from Washington, D.C., Nov.
13, 2020), available at, https://wabcradio.com/episode/major-challenges-11-13-2020/
 (last visited Jan. 18, 2021) (Ex. 110).
67
   See, e.g., Ex. 134; This Has NEVER Occurred in U.S. History, Rudy Giuliani’s Common Sense
(Jan. 15, 2021), available at, https://www.iheart.com/podcast/867-rudy-giulianis-common-sens-
72908742/episode/this-has-never-occurred-in-us-76308324/ (last visited Jan. 19, 2021) (Ex. 137).
68
   Chat with the Mayor: Capital Riot Aftermath, 77WABC (broadcast from Washington, D.C., Jan.
8, 2021), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 19, 2021)
(Ex. 138).
69
   Ex. 114.
70
     Rudy W. Giuliani (@RudyGiuliani), Twitter (Dec. 21, 2020), available at,
https://twitter.com/RudyGiuliani/status/1341050325751492608 (last visited Jan. 21, 2021) (Ex.
139).

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         58.   To bolster his lies about Dominion, Giuliani intentionally misrepresented that his

accusations were supported by a “forensic examination” conducted by “forensic experts” with “a

very reputable company.”71

         59.   As Giuliani was well aware when he made those false claims, the purported

“forensic expert” was Russell Ramsland—a “Deep State” conspiracy theorist in cahoots with

Sidney Powell who was selected not because Ramsland had election security expertise, but

because he was determined to promote the false preconceived narrative that the election had been

fixed.

         60.   Before Giuliani touted Ramsland’s expertise, Ramsland had publicly claimed,

among other things, that George Soros helped form the “Deep State” in Nazi Germany in the

1930s—along with President George H.W. Bush’s father, the Muslim Brotherhood, and

“leftists.”72 Mr. Soros was born in 1930.

         61.   Moreover, by the time Giuliani touted Ramsland as a “forensic expert” and

specifically referenced the “forensic review” from Ramsland and his “very reputable company,”73

Ramsland had been publicly discredited for making false claims of overvoting in Michigan, which

Ramsland based on vote counts from an entirely different state—Minnesota.74 Indeed, a Delaware

judge determined that Ramsland provided “materially false information” in support of his claims



71
   Ex. 134.
72
   John Savage, Texas Tea Partiers Are Freaking Out Over ‘Deep State’ Conspiracy Theories,
Vice (Sept. 20, 2018), available at, https://www.vice.com/en/article/mbwgxx/texas-tea-partiers-
are-freaking-out-over-deep-state-conspiracy-theories (Ex. 56).
73
   Ex. 134.
74
   Clara Hendrickson, Affidavit in Michigan lawsuit seeking to overturn election makes wildly
inaccurate claims about vote, PolitiFact (Dec. 4, 2020), available at, https://www.politifact.com/f
actchecks/2020/dec/04/russell-james-ramsland-jr/affidavit-michigan-lawsuit-seeking-overturn-
electi/ (Ex. 57); see also, Louis Jacobson and Noah Y. Kim, Giuliani cites affidavit with crucial
errors in press conference, PolitiFact (Nov. 20, 2020), available at, https://www.politifact.com/fa
ctchecks/2020/nov/20/rudy-giuliani/giuliani-cites-affidavit-crucial-errors-press-conf/ (Ex. 155).

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of vote manipulation75 when he referenced and cited locations in Minnesota when alleging voter

fraud in Michigan—something that Giuliani either knew or recklessly failed to verify by reference

through a basic Google search.76

       62.     Ramsland’s report on the “forensic examination” of the Dominion machines in

Antrim County contains a staggering number of inaccuracies; obvious misunderstandings of

election procedures, hardware, and software; and other indicia of unreliability.

       63.     Even though Ramsland cites to “experts” upon whom he purportedly relied in

creating his report, he does not identify a single one. Nor does he identify any of their credentials

or prior experience—other than the vaguest reference to a handful of government agencies—to

justify their designation as “experts.”77 And Ramsland does not identify any experience that he,

or any of his so-called “experts,” have in elections or election hardware or software.

       64.     Additionally, Ramsland references the “allowable election error rate established by

the Federal Election Commission.” The Federal Election Commission does not regulate voting

machines or software. It regulates campaign finance.78 Ramsland confused—or did not bother to

research the differences between—the FEC and the EAC.79 Dominion’s election voting system

suite is, of course, certified by the EAC.80



75
   Rule to Show Cause, Page v. Oath Inc., No. S20C-07-030 (Del. Super. Ct. Dec. 18, 2020).
76
   Ex. 57.
77
   Pet. Notice of Suppl. Authority, King v. Whitmer, No. 20-815 (S. Ct. Dec. 13, 2020), available
at, https://www.supremecourt.gov/DocketPDF/20/20-
815/163875/20201215164905775_Final%20Michigan%20Notice%20of%20Supplemental%20A
uthority.pdf.
78
   Mission and history, FEC, available at, https://www.fec.gov/about/mission-and-history/ (Ex.
140).
79
   How the U.S. Election Assistance Commission Facilitates Fair and Secure Elections, EAC,
available at, https://www.eac.gov/news/2020/12/03/how-us-election-assistance-commission-
facilitates-fair-and-secure-elections/ (Ex. 141).
80
   Certificate of Conformance, EAC (Sept. 14, 2018), available at, https://www.eac.gov/sites/def
ault/files/voting_system/files/DSuite55_CertConf_Scope%28FINAL%29.pdf (Ex. 142).

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       65.     Apart from these red flags indicating he is no expert at all, Ramsland also illustrates

a gross misunderstanding of the machines and software in the details of his report. For example,

he claims that his “forensics team” “perform[ed a] forensic duplication of the Antrim County

Election Management Server running Dominion Democracy Suite 5.5.3-002.” But there is no

Democracy Suite 5.5.3-002. Instead, 5.5.3-002 is the version of the ImageCast Precinct tabulator

(i.e., the actual scanner), not the election management server or software.81 This demonstrates that

Ramsland is incapable of telling the difference between the relevant hardware, software, and

servers involved—or simply did not take care to do so.

       66.     Ramsland also fails to understand the difference between—or intentionally

distorted—adjudication software (which is an optional component of Dominion’s voting system

suite) and the process of adjudicating a ballot. In fact, Antrim County only purchased (and

therefore only used) certain components of Dominion’s voting system suite; critically, Antrim

County neither purchased nor used—nor possessed the hardware required to use—the adjudication

software.82   This did not prevent Ramsland from falsely claiming that “[b]allots sent to

adjudication can be altered by administrators,” and that “all adjudication log entries for the 2020

election cycle are missing” and must have been “manually removed.”

       67.     Finally, Ramsland’s specific claim of a 68% “error rate” evidences a fundamental

misunderstanding of election software. Ramsland claims to have used the tabulation logs as the

source for his supposed “error rate.” But the tabulation logs do not reflect the machine’s tabulation

of votes. They record activities logged by the machine during the tabulation process.83 So



81
   Declaration of Ryan Macias, FactCheck.org, available at, https://cdn.factcheck.org/UploadedFi
les/Rebuttal_ASOG-Antrim_Report.pdf (Ex. 143).
82
   Id.
83
   See, Paul Egan & Clara Hendrickson, Trump tweet wrongly suggests there were defects with
Michigan voting machines, The Detroit Free Press (Dec. 15, 2020), available at, https://www.free

                                                 30
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Ramsland’s claim that “these … tabulation totals were used as the official results” is false (because

they are a recording of machine activity, not votes). Simply put, Ramsland does not understand

what he is looking at.

       68.     While Ramsland claims that a huge percentage of machine activity reflected in the

tabulation logs were “errors” or “warnings,” he gives no explanation of how he identified or

defined an “error” or “warning.”

       69.     Ramsland references three settings—“reverse,” “divert,” and “override”—as

examples of these so-called “critical errors” or “warnings.” But these are not “errors.” They are

parameters used in the tabulator to handle ballots that—for example—include write-in candidates

or ballots that contain votes for two candidates for the same office. Calling these “errors” is

analogous to claiming that the low fuel indicator light turning on in a car is an “error”—it is of

course not an error; the car is operating precisely how it is supposed to. Similarly, just because

the tabulator recorded, for example, “divert” does not mean that there was error with the ballot or

the vote; precisely the opposite—it means that the machine operated properly in response to that

ballot.84 This shows that Ramsland does not understand—or did not take care to distinguish—the

difference between an actual error and proper functioning.

       70.     Given Giuliani’s tenure as a federal prosecutor, he is well aware of how to evaluate

the credentials of a purported expert and the reliability of a purported expert report; he realized

beforehand that Ramsland was not an expert in the subject matter and that his opinion was

worthless and designed from the outset to reach a conclusion to support a false preconceived



p.com/story/news/politics/elections/2020/12/15/trump-fact-check-defect-voting-machines-
michigan/3902951001/ (Ex. 144).
84
   Angelo Fichera, Audit in Michigan County Refutes Dominion Conspiracy Theory, FactCheck.o
rg (Dec. 18, 2020), available at, https://www.factcheck.org/2020/12/audit-in-michigan-county-
refutes-dominion-conspiracy-theory/ (Ex. 145).

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narrative about the election. Despite these facts, Giuliani falsely passed Ramsland off as a

reputable forensic expert with the expertise needed to produce a legitimate forensic report on

Dominion’s machines.

          Even After Ramsland’s Bogus Forensic Report Is Conclusively Disproven,
               Giuliani Persists in Promoting False Claims About Dominion

       71.     People who are actually knowledgeable about election security and procedures in

Antrim County promptly, publicly, and forcefully rebutted Ramsland’s report.

       72.     Antrim County officials determined—and publicly announced—that Ramsland’s

report was “riddled with false and unsupported claims, baseless attacks, and incorrect use of

technical terms.”85

       73.     Similarly, the former acting director of the EAC’s Voting System Testing and

Certification program said that Ramsland’s report showed a “grave misunderstanding” of Antrim

County’s voting system and “a lack of knowledge of election technology and process.”86

       74.     Michigan’s Attorney General and Secretary of State issued a joint statement that

Ramsland’s report was “critically flawed, filled with dramatic conclusions without any evidence

to support them.”87




85
   See Ali Swenson, Report spreads debunked claims about Dominion machines in Michigan
county, Associated Press (Dec. 15, 2020), available at, https://apnews.com/article/fact-checking-
afs:Content:9847904839 (Ex. 58).
86
   See Todd Spangler, Former election security chief for Trump knocks down Antrim County
report, The Detroit Free Press (Dec. 16, 2020), available at, https://www.freep.com/story/news/p
olitics/elections/2020/12/16/antrim-county-report-debunked-by-former-trump-election-
official/3923499001/ (Ex. 59).
87
   AG, SOS: Plaintiff’s Report in Antrim County Election Lawsuit Demonstrates Lack of Credible
Evidence in Widespread Fraud or Wrongdoing, Michigan Dep’t of Attorney General (Dec. 14,
2020), available at, https://www.michigan.gov/ag/0,4534,7-359-92297_47203-547422--,00.html
(Ex. 42).

                                               32
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        75.      The Republican county clerk who made the mistake that resulted in the inaccurate

unofficial results stated that Ramsland’s report contained “many misleading statements” and was

“simply not accurate.”88

        76.      But there is no need for a battle of the experts: the paper ballots in Antrim County

were recounted by hand—conclusively disproving the lie that Dominion machines had

erroneously tabulated 68% of the votes.89

        77.      Following a bipartisan investigation into the vote in Antrim County, Michigan, the

state’s Republican Senate Majority Leader Mike Shirkey announced, “[o]ur investigation, which

has been very intense, discovered none, none of the allegations and accusations against Dominion

[are] true.”90

        78.      Yet even after the hand recount confirmed that “Dominion’s voting machines

accurately tabulated the votes cast for president in Antrim County,”91 Giuliani continued to repeat

the lie. For example:

                 (a) the day after the hand recount, Giuliani proclaimed on his podcast that the
                     Dominion voting machines had “6,000 votes switched from Trump to Biden,”
                     that the Dominion machines “switched the votes based on some kind of pre-
                     programming,” and that there was a “68% error rate.”92

                 (b) On his December 20, 2020 radio show, Giuliani falsely claimed that “Dominion
                     … machines … in Michigan produced a 62 percent inaccuracy rate, and an 84

88
   Craig Mauger, Michigan election officials slam report on votes in Antrim County, The Detroit
News (Dec. 14, 2020), available at, https://www.detroitnews.com/story/news/politics/2020/12/14
/michigan-judge-allows-release-report-antrim-county-voting/6537394002/ (Ex. 146).
89
   See Ex. 15.
90
   Abigail Censky, How Misinformation Lit The Fire Under A Year Of Political Chaos In
Michigan, NPR (Jan. 1, 2021), available at, https://www.npr.org/2021/01/01/952528193/how-
misinformation-lit-the-fire-under-a-year-of-political-chaos-in-michigan (Ex. 17).
91
   See Trump still wins small Michigan county after hand recount, Associated Press (Dec. 17,
2020), available at, https://apnews.com/article/election-2020-joe-biden-donald-trump-michigan-
elections-07e52e643d682c8033a0f26b0d863387 (Ex. 15).
92
    DISCOVERY: 68% ERROR Rate in Votes PROVES Intentional Fraud, Rudy Giuliani’s
Common Sense (broadcast from Washington, D.C., Dec. 18, 2020), available at, https://www.yo
utube.com/watch?v=UUtmBrgIC9w (last visited Jan. 19, 2021) (Ex. 134).

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                  percent adjudication rate which means that only 16 percent of the votes in that
                  county were actually cast by people … the machine was 62 percent inaccurate.
                  … [T]hey belong to a crooked company called Dominion … they’ve been
                  caught cheating in so many elections …. These machines, you have to realize,
                  come from a company that developed machines in order to cheat on elections.
                  And that’s why it can do things like change votes, have fractional votes.93

              (c) On December 23, 2020, Giuliani said on his podcast, “[T]hese Dominion
                  crooked machines are calculating machines. … [W]e can go into the memory of
                  the machine and we can show that Trump actually got 6,000 votes, and Biden
                  actually got 3,000 votes; the way you cheated in Antrim County and got caught.
                  You didn’t just do it in Antrim County, you did it throughout America in order
                  to change the result of this election.”94

              (d) On January 8, Giuliani again repeated the disproven claim on his weekday radio
                  show.95

      As Repeatedly Proven by Independent Audits and Hand Recounts of Paper Ballots,
             Giuliani’s Claims About Dominion Fixing the Election Are False

       79.     Giuliani’s claims about Dominion fixing the election by manipulating vote counts

are demonstrably false and have been repeatedly disproven by independent audits and hand

recounts of paper ballots.

       80.     The voter-verified paper ballots are the hard evidence that can be easily used to

verify the accuracy of the Dominion machine counts. If Dominion or anyone else had rigged the

election by manipulating the vote counts in the Dominion machines, the number of paper ballots


93
   Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan, 77WABC (Dec. 20, 2020),
available at, https://wabcradio.com/episode/uncovering-the-truth-12-20-20/ (last visited Jan. 19,
2021) (Ex. 136).
94
    Christmas is NOT CANCELLED, It’s Vital This Year, Rudy Giuliani’s Common Sense
(broadcast from Washington, D.C., Dec. 23, 2020), available at, https://www.youtube.com/watch
?v=FkvvtuVsyUA&list=PLlMn0a7NgIUZIGjQVofrk1M3Ulqdc7_-4&index=5 (last visited Jan.
19, 2021) (Ex. 147).
95
   Chat with the Mayor: Capital Riot Aftermath, 77WABC (broadcast from Washington, D.C., Jan.
8, 2021), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 19, 2021)
(Ex. 138) (“Dominion is an extremely sophisticated cyber-attack. And it, you know, it’ll, it’ll take
a whole county and it will adjust the vote by 1%, 2%, in every, in every machine. It’s not going
to, like, they made a mistake in Antrim county, Michigan where they got caught, where they made
a 600, 6,000 switch, too fast in one machine … and then you could see the numbers switched in
the machine and you could see what phony machines Dominion machines are.”).

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that were verified and cast by voters would not match the machine counts. In fact, independent

100% hand audits and recounts of paper ballots have repeatedly verified the accuracy of the vote

counts from Dominion machines.

       81.     After a 100% hand audit of all the ballots cast in Georgia in the 2020 election,

Georgia’s Republican Secretary of State Brad Raffensperger explained that “Georgia’s historic

first statewide audit reaffirmed that the state’s new secure paper ballot voting system accurately

counted and reported results.”96

       82.     At the request of the Trump Campaign, in addition to the hand audit, Georgia also

conducted a subsequent machine recount, which again affirmed the original outcome of the

presidential race in Georgia.

       83.     As Secretary of State Raffensperger explained after a signature match audit

affirmed the outcome of the 2020 presidential race in Georgia for a third time, “[t]he Secretary of

State’s office has always been focused on calling balls and strikes in elections and, in this case,

three strikes against the voter fraud claims and they’re out.”97

       84.     Similarly, as Secretary Raffensperger explained to Giuliani’s client, Donald Trump,

during a telephone call that was reported by The Washington Post, “I don’t believe that you’re

really questioning the Dominion machines. Because we did a hand re-tally, a 100 percent re-tally

of all the ballots, and compared them to what the machines said and came up with virtually the



96
   Georgia Secretary of State, Historic First Statewide Audit of Paper Ballots Upholds Result of
Presidential Race, available at,
https://sos.ga.gov/index.php/elections/historic_first_statewide_audit_of_paper_ballots_upholds_r
esult_of_presidential_race#:~:text=2020%20Qualifying%20Packet-
,Historic%20First%20Statewide%20Audit%20of%20Paper%20Ballots%20Upholds%20Result%
20of,machine%20tally%20of%20votes%20cast (Ex. 11).
97
   Georgia Secretary of State, 3rd Strike Against Voter Fraud Claims Means They’re Out After
Signature Audit Finds No Fraud, https://sos.ga.gov/index.php/elections/3rd_strike_against_voter
_fraud_claims_means_theyre_out_after_signature_audit_finds_no_fraud (Ex. 12).

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same result. Then we did the recount, and we got virtually the same result. So I guess we can

probably take that off the table. I don’t think there’s an issue about that.”98

       85.     Similarly, in a press conference, an official from the Georgia Secretary of State’s

Office explained, “[l]et’s just go to the other ridiculous claims, that Dominion voting machines are

somehow using fractional voting or flipping votes. Again, by doing the hand tally, it shows none

of that is true. Not a whit.”99

       86.     In Arizona, the Chairman of the Maricopa County Board of Supervisors released a

statement explaining, “[t]he evidence overwhelmingly shows the system used in Maricopa County

is accurate and provided voters with a reliable election. … The Dominion tabulation equipment

met mandatory requirements during logic and accuracy testing before the Presidential Preference

Election, the Primary Election and the General Election. And after each of these 2020 elections,

the hand count audit showed the machines generated an accurate count.”100

       87.     The Elections Infrastructure Government Coordinating Council and the Election

Infrastructure Sector Coordinating Executive Committees released a joint statement confirming

that there is “no evidence that any voting system deleted or lost votes, changed votes, or was in




98
   Amy Gardner & Paulina Firozi, Here’s the full transcript and audio of the call between Trump
and Raffensperger, Wash. Post (Jan. 3, 2021), available at, https://www.washingtonpost.com/pol
itics/trump-raffensperger-call-transcript-georgia-vote/2021/01/03/2768e0cc-4ddd-11eb-83e3-
322644d82356_story.html (Ex. 13).
99
   WATCH: Georgia election officials reject Trump call to ‘find’ more votes, PBS (Jan. 4, 2021),
available at, https://www.pbs.org/newshour/politics/watch-live-georgia-secretary-of-states-office-
holds-press-conference (Ex. 14).
100
     Letter from Clint Hickman to Maricopa County Voters (Nov. 17, 2020), available at,
https://www.maricopa.gov/DocumentCenter/View/64676/PR69-11-17-20-Letter-to-
Voters#:~:text=Here%20are%20the%20facts%3A&text=The%20evidence%20overwhelmingly
%20shows%20the,voters%20with%20a%20reliable%20election.&text=As%20required%20by%
20law%20(A.R.S,used%20in%20any%20Arizona%20elections (Ex. 18).

                                                 36
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any way compromised.”101 The Joint Statement was signed and endorsed by, among others, the

National Association of State Election Directors, National Association of Secretaries of State, and

CISA—then led by a Trump appointee, Chris Krebs.

              Giuliani Intentionally Disregards Hard Evidence and Reliable Sources
             Including Trump Appointees, Republicans, and Election Security Experts
                 Who Rebut and Disprove His False Accusations About Dominion

       88.       While endeavoring to make the facts conform to the false preconceived narrative

that the election had been fixed by Dominion, Giuliani was confronted with a number of facts that

rendered his outlandish claims inherently improbable, if not outright impossible.

       89.       For example, he has not explained how a decades-old international election-rigging

conspiracy involving independent testing labs accredited by the EAC and thousands of bipartisan

local election volunteers could have evaded detection for so long.

       90.       Giuliani also has not explained how—if Dominion were actually controlled by the

associates of a Venezuelan dictator—it was permitted to operate in the United States by the

Committee on Foreign Investment in the United States (“CFIUS”).

       91.       Nor has Giuliani explained how—if Dominion were willing and able to commit a

massive fraud to deprive Trump of the presidency—Trump won the presidential election in 2016,

when Dominion machines were used in 1,635 jurisdictions in more than two dozen “red” and

“blue” states.

       92.       Yet, despite the inherent improbability of his lies, Giuliani continued to promote

them even after Powell’s sham litigations had been dismissed and her witnesses—including the

anonymous purported Venezuelan military officer and Russell Ramsland—had been judicially


101
   Cybersecurity & Infrastructure Security Agency, Joint Statement From Elections Infrastructure
Government Coordinating Council & The Election Infrastructure Sector Coordinating Executive
Committees (Nov. 12, 2020), available at, https://www.cisa.gov/news/2020/11/12/joint-statement-
elections-infrastructure-government-coordinating-council-election (Ex. 19).

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determined to be “wholly unreliable,” and even after Giuliani’s false claims about Dominion fixing

the election had been repeatedly, forcefully, and publicly rebutted and disproven by the hard

evidence of independent audits and hand recounts of paper ballots and by reliable sources like

Trump appointee Bill Barr, Trump appointee Chris Krebs, Georgia’s Republican Governor

Brian Kemp, Georgia’s Republican Secretary of State Brad Raffensperger, federal judges, and 59

election security experts.102

                          As Shown from Publicly Available Records,
                  Giuliani’s Accusations About Dominion’s Origins Are False

        93.    Publicly available records prove that Giuliani’s wild accusations about Dominion’s

origins are also demonstrably false.

        94.    Dominion was not founded in Venezuela to fix elections for Hugo Chávez. It was

founded in 2002 in John Poulos’s basement in Toronto to help blind people vote on paper

ballots.103

        95.    By 2009, Dominion’s business had grown in the United States, and a subsidiary

company, Dominion Voting Systems, Inc., was incorporated in Delaware and headquartered in

Denver, Colorado.104 By 2018, the majority of the business’s customers and employees were in

the United States, so Poulos sold the majority stake of the business to U.S. investors.105


102
     See Tony Adams, Prof. Andrew W. Appel, et al., Scientists say no credible evidence of
computer fraud in the 2020 election outcome, but policymakers must work with experts to
improve confidence, Matt Blaze (Nov. 16, 2020), available at, https://www.mattblaze.org/papers/
election2020.pdf (Ex. 47).
103
    Iain Marlow, Selling Trust in Democracy, Toronto Star (Nov. 2, 2009), available at, https://w
ww.thestar.com/business/2009/11/02/selling_trust_in_democracy.html (Ex. 148).
104
    State of Delaware Entity Search, available at, https://icis.corp.delaware.gov/ecorp/entitysearc
h/NameSearch.aspx (Ex. 149); Colorado Secretary of State, available at, https://www.sos.state.co
.us/biz/BusinessEntityDetail.do?quitButtonDestination=BusinessEntityResults&nameTyp=ENT
&masterFileId=20101359683&entityId2=20101359683&fileId=20101359683&srchTyp=ENTIT
Y (Ex. 150).
105
    Dominion Voting Systems Acquired by its Management Team and Staple Street Capital, PR
Newswire (July 16, 2018), available at, https://www.prnewswire.com/news-releases/dominion-

                                                 38
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       96.     Today, Dominion’s business is organized as US Dominion, Inc. and its two wholly

owned subsidiaries, Dominion Voting Systems, Inc. and Dominion Voting Systems

Corporation.106

                               Dominion Suffers Enormous Harm

       97.     As a result of the false accusations disseminated to a global audience by Giuliani,

his allies, and like-minded media outlets—who acted in concert to promote a false preconceived

narrative about the 2020 election, despite the total lack of evidence to support it, and despite the

mountains of paper ballots and the army of credible sources disproving it—Dominion has suffered

unprecedented reputational and financial harm, and its employees’ lives have been put in danger.

       98.     Giuliani’s false tweets about Dominion were liked over 534,000 times and were

foreseeably retweeted over 160,000 times. The retweets disseminated Giuliani’s false tweets to

over 1.5 million Twitter accounts. Based on the average followers and the number of retweets

overall, Giuliani’s false tweets about Dominion potentially reached more than 331 million Twitter

accounts—or about the same number of accounts as the entire U.S. population.

       99.     Over a three-hour period on December 21, 2020, the terms “dominion” and “fraud”

were tweeted out together by more than 2,200 users with over 8.75 million total followers.




voting-systems-acquired-by-its-management-team-and-staple-street-capital-300681752.html (Ex.
151).
106
    Ex. 149.

                                                39
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       100.   Those over 2,200 Twitter users were located across the United States and in 17

countries around the world.




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       101.    Among the hundreds of millions of people who were exposed to Giuliani’s

falsehoods about Dominion, one wrote “Giuliani said Dominion is owned by Venezuela’s

Maduro!”107




       102.    Another wrote, replying to President Barack Obama and his over 128 million

followers, “Giuliani reveals Dominion is a company owned by Smartmatic, whose founders were

close to Chávez, dictator of Venezuela; its establishment was to fix the elections.”108




107
    SQepticalVal (@S_Qeptic), Twitter (Nov. 13, 2020), available at, https://twitter.com/S_Qepti
c/status/1327465121577242624 (Ex. 220).
108
    Maula (@DaLi9177447), Twitter (Nov. 17, 2020), available at, https://twitter.com/DaLi9487
7447/status/1328604803539333120 (Ex. 152).



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       103.   After listening to Giuliani’s November 15, 2020 interview on the radio show “The

CATS Roundtable,” one person shared a link to the interview, and then foreseeably republished

Giuliani’s defamatory falsehoods about Dominion, writing “DOMINON VOTING SYSTEM IS

A FOREIGN SYSTEM OF TABULATION RUN BY CHINA AND VENEZUELA AND HAVE

BEEN USED IN THE ‘STEALING’ OF VOTES IN SOUTH AMERICA FOR DICTATORS.”109




109
   Ron Anthony (@ronanthonyone), Twitter (Nov. 15, 2020), available at, https://twitter.com/ro
nanthonyone/status/1328013538678476800 (Ex. 153).



                                              42
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       104.   One commenter on Giuliani’s November 13 podcast wrote, “Dominion stole the

American election.”110




110
    REVEALED: Sworn Evidence of Pervasive Voter Fraud, Rudy Giuliani’s Common Sense
(broadcast from Washington, D.C., Nov. 13, 2020), available at, https://www.youtube.com/watc
h?v=sd-5Xm5PFmg (last visited Jan. 19, 2021) (Ex. 112).

                                            43
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       105.    Another wrote: “Release the Kraken on Dominion voting systems and everybody

financially connected to it.”111




       106.    Immediately after Giuliani’s November 19, 2020 Washington, D.C. press

conference, countless people foreseeably began republishing his defamatory statements. For

example, one person replied to Donald Trump and his over 88 million followers, “Giuliani &

company did today on TV explained our election was stolen by corrupt software from Venezuela

i.e. Dominion, etc.”112




       107.    Another person wrote: “did you listen to the Giuliani press conference, George

Soros, crooked Dominion Software connections to Venezuela, dirty politics but we no longer have




111
  Id.
112
  Bob Cavanaugh (@BobCavanaugh11), Twitter (Nov. 19, 2020), available at, https://twitter.co
m/BobCavanaugh11/status/1329493022946570241 (Ex. 156).

                                              44
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journalists, Trump suffered under deep state lies but he exposed them within our highest

government agencies.”113




       108.    Another person claimed that they relied on the “evidence” Giuliani presented of

massive voter fraud during the press conference, when in fact, he did not present a single shred of

evidence supporting his defamatory statements: “Guess you missed the press conference where

Giuliani presented evidence of mass voter fraud in multiple states. If you want to live in a Banana

Republic where Dominion and Smartmatic software are allowed to overturn an election, MOVE

TO VENEZUELA!!!!”114




113
    Ronnieh (@hcatfioe), Twitter (Nov. 19, 2020), available at, https://twitter.com/hcatfioe/status
/1329496142703439874 (Ex. 157).
114
    Money in PJs (@moneyinpjs), Twitter (Nov. 19, 2020), available at, https://twitter.com/mone
yinpjs/status/1329487770260295682 (Ex. 158).

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       109.    Another person foreseeably republished Giuliani’s defamatory falsehoods and

touted the “evidence” he claimed to possess, writing “Both Rudy Giuliani and Sidney Powell have

evidence that the demon rats (Democrat’s) stole this election for president. Dominion software

and Smartmatic and Venezuela and Germany count out votes and are HIGHLY suspect !!!”115




       110.    Another person wrote, “Lin wood and rudi Giuliani are exposing china influence in

elections. Dominion is a foreign company created for Venezuela prez Maduro.”116




115
    David Alan Blowe (@DavidAlanBlowe4), Twitter (Nov. 19, 2020), available at, https://twitte
r.com/DavidAlanBlowe4/status/1329499960027570183 (Ex. 159).
116
    Manic lo_panic (@lo_panic), Twitter (Dec. 18, 2020), available at, https://twitter.com/lo_pani
c/status/1340007958172725248 (Ex. 160).

                                               46
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       111.   One person wrote “Confident in vote count in GA, MY BUTT! What about

Giuliani info, Dominion Canadian Computer Co., uses Smartmatic vote changing software??? It’s

owned by Venezuela co., Used by Maduro to win elections?”117




       112.   Another person who believed the defamatory falsehoods tweeted, “There has been

so much fraud” including “Dominion machines moving Trump votes to Biden.”118




117
    Joel Cohen (@JoelCoh03323740), Twitter (Nov. 14, 2020), available at, https://twitter.com/J
oelCoh03323740/status/1327498656694509568 (Ex. 161).
118
    Stephen (@Stephenwc24), Twitter (Dec. 9, 2020), available at, https://twitter.com/Stephenwc
24/status/1336732043607068673 (Ex. 66).

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       113.    One person tweeted, “Dominion et al was created in Venezuela for Chavez &

Maduro.”119




       114.    Another person succinctly summarized the devastating harm that has been inflicted

on Dominion’s commercial reputation, writing “Dominion is [a] fancy word for election fraud.”120




       115.    As reflected in polling data about decreasing confidence in the legitimacy of the

2020 election, tens of millions of people believed the defamatory falsehoods about Dominion. For

example, before the election, 44% of Trump supporters were “not very” or “not at all” confident



119
    Bruce Robinson (@brsquared), Twitter (Dec. 9, 2020), available at, https://twitter.com/brsqua
red/status/1336725318367911936 (Ex. 67).
120
    Ivo Boutrous (@ivoboutros), Twitter (Dec. 8, 2020), available at, https://twitter.com/ivoboutr
os/status/1336443509134548993 (Ex. 68).

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in the national vote count.121 But after the viral disinformation campaign against Dominion, 81%

of Trump voters believe that voter fraud influenced the election outcome.122

       116.    Among Republicans generally, a November poll showed 68% are concerned that

the election was “rigged,”123 and a December poll showed 77% believe that “there was widespread

voter fraud in the 2020 presidential election.”124

       117.    As of January 7, 2021, a Google search of the terms “dominion,” “voting,” and

“fraud” yields over 8.4 million results; a search of the terms “dominion,” “manipulate,” and “vote”

yields over 1.9 million results; a search of the terms “boycott,” “dominion,” and “fraud” yields

over 2.8 million results; and more focused searches like “who manufactures dominion voting

machines” yields over 18.9 million results, just to name a few.

       118.    As a result of the viral disinformation campaign against Dominion, the company

and its employees have been targeted and have received calls for jail time and death threats.




121
    A Democratic Stress Test – The 2020 Election and Its Aftermath, Bright Line Watch (Nov.
2020), available at, http://brightlinewatch.org/american-democracy-on-the-eve-of-the-2020-
election/a-democratic-stress-test-the-2020-election-and-its-aftermathbright-line-watch-
november-2020-survey/ (Ex. 71).
122
    Candice Jaimungal, Three-quarters of voters think fraud occurred during the election, YouGov
(Nov. 12, 2020) available at, https://today.yougov.com/topics/politics/articles-
reports/2020/11/12/voters-think-fraud-occurred-during-elec
(poll available at, https://docs.cdn.yougov.com/9j7sr0my95/econTabReport.pdf) (Ex. 72).
123
    Chris Kahn, Half of Republicans say Biden won because of a ‘rigged’ election: Reuters/Ipsos
poll, Reuters (Nov. 18, 2020), available at, https://www.reuters.com/article/us-usa-election-
poll/half-of-republicans-say-biden-won-because-of-a-rigged-election-reuters-ipsos-poll-
idUSKBN27Y1AJ (poll available at, https://www.ipsos.com/sites/default/files/ct/news/document
s/2020-11/topline_reuters_post_election_survey_11_18_2020.pdf) (Ex. 73).
124
    60% View Joe Biden’s 2020 Presidential Victory As Legitimate, Quinnipiac University
National Poll Finds; 77% of Republicans Believe There Was Widespread Voter Fraud, Quinnipiac
University (Dec. 10, 2020), available at, https://poll.qu.edu/national/release-
detail?ReleaseID=3685 (Ex. 74).

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        119.    For example, viewers of Giuliani’s Christmas Day podcast about Dominion

commented on the video: “The Dominion machines changed the vote[]. They need to be held

accountable” and “All these people involved with the fraud need to be executed for treason.”125




        120.    Another person posted on social media, “Why isn’t every single Dominion

employee in jail for their election fraud?!!!!!!!!!”126




125
    WHO Will Be Our PRESIDENT? The Current State of Our Country, Rudy Giuliani’s Common
Sense (broadcast from Washington, D.C., Dec. 25, 2020), available at, https://www.youtube.com
/watch?v=NAzCECx8XeE (last visited Jan. 19, 2021) (Ex. 162).
126
    Woody James (@WoodsonTJames), Twitter (Dec. 9, 2020), available at, https://twitter.com/
WoodsonTJames/status/1336726130771038208 (Ex. 75).

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       121.   Another person posted, “jail dominion find them…ask allies to track them down”127




       122.   One Dominion employee received text messages stating “we are already watching

you. Come clean and you will live.”

       123.   One person left the following message on Dominion’s customer support line:

              You’re all fucking dead, You’re all fucking dead. We’re bringing back
              the firing squad and you fuckers are all dead, everybody involved up
              against the wall you motherfuckers. We’re gonna have a fucking lottery
              to fucking give people a chance to shoot you motherfuckers you fucking
              wait you cocksuckers you commie pieces of shit. We’re going to fucking
              kill you all you motherfuckers. After a fair trial of course you pieces of
              shit. The American people are fucking coming for you this is the end of
              your fucking line guys your fucking days are numbered you better enjoy
              your Thanksgiving because you’ll never see another one you fucking
              cocksuckers. You will be gone soon. Happy Thanksgiving. Cock suckers.
              You’re almost done just watch and see what happens. Check out the
              executive order from September 12, 2018. You’ll see what’s going to
              happen. You’ll own nothing. You’ll be on the fucking 2030 plan because
              you’ll own nothing you fucking cocksuckers. It’s coming. Buckle your
              fucking seatbelts. Watch what’s going to happen next.

       124.   Another person sent a Dominion employee an email with the subject line, “Time is

up” and with the message, “You have 24 hours…”

       125.   And another person left the following message on Dominion’s main office line:

              Yeah, good afternoon. Fuck you, fucking scumbags. We’re gonna blow

127
   Lionslovestrump (@leonkhanin1234), Twitter (Dec 8. 2020), available at, https://twitter.com/
leonkhanin1234/status/1336497514598555650 (Ex. 76).

                                              51
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               your fucking building up. Piece of fucking shit.

       126.    Because of these threats and numerous others, Dominion has made significant

expenditures to protect its people from harm—including by employing on-site police and security.

Since the beginning of the viral disinformation campaign, Dominion has spent more than $565,000

on private security for the protection of its people.

       127.    As Dominion was coping with the barrage of death threats by hiring security and

having employees work remotely, a commenter on one of Giuliani’s defamatory podcasts crowed,

“The dominion executives have fled the jurisdiction. They vacated their offices and ran. Funny,

you would think they would stand by their machines and software proudly and try to tell everyone

how accurate their product is. OOPS!”128




       128.    As a direct result of the viral disinformation campaign, Dominion has been forced

to make significant expenditures in an attempt to mitigate the harm to its reputation and business.

To date, Dominion has incurred expenses of more than $1,170,000 to that end.

       129.    Dominion is a for-profit company that provides local election officials with tools

they can use to run elections. It generates revenue by selling voting technology services to elected

officials from both political parties. It contracts with state and local governments to provide its

voting systems and services in a majority of states across the country. Those contracts are typically


128
    REVEALED: Sworn Evidence of Pervasive Voter Fraud, Rudy Giuliani’s Common Sense
(broadcast from Washington, D.C., Nov. 13, 2020), available at, https://www.youtube.com/watc
h?v=sd-5Xm5PFmg (last visited Jan. 19, 2021) (Ex. 112).

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multi-year contracts and range from tens of thousands of dollars to over a hundred million dollars,

depending on the jurisdiction and scope of the contract. Given the nature of the U.S. election

system and the voting services industry, Dominion’s contracts have historically been long term

with high renewal rates. In 2020, state and local election officials and bipartisan poll workers in

28 “red” and “blue” states administered their elections by using Dominion’s tabulation devices to

count paper ballots.

       130.    Giuliani has used his substantial Twitter following to leverage the false accusations

about Dominion to exert overt political pressure on Governor Ducey of Arizona and Governor

Kemp of Georgia.129




129
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Nov. 30, 2020), available at, https://twitter.com/
RudyGiuliani/status/1333626364805533696 (last visited Jan. 19, 2021) (Ex. 163); Rudy W.
Giuliani (@RudyGiuliani), Twitter (Jan. 1, 2021), available at, https://twitter.com/RudyGiuliani/
status/1344876003840176128 (last visited Jan. 19, 2021) (Ex. 164).

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       131.   Just one day after Giuliani’s and Powell’s Washington, D.C. press conference,

Arizona state Congressman Warren Peterson tweeted, “I’m drafting legislation to ban the use of

Dominion software and equipment from the state of Arizona. My constituents do not trust it…”130




       132.   Similarly, since the viral disinformation campaign began, state legislators in

various states in which Dominion has contracts—including Florida, Louisiana, Michigan, and

Pennsylvania—have stated their intent to review and reassess those contracts.

       133.   One person wrote to California Congressman Devin Nunes and stated: “Our voting

machines are owned by Canada The Dominion company has a parent company called Softmatic,

developers are from Venezuela. … This is a TOTAL STOLEN ELECTION. SOURCE: Rudy

Giuliani on Lou Dobbs.”131




130
    Warren Petersen (@votewarren), Twitter (Nov. 20, 2020), available at, https://twitter.com/vot
ewarren/status/1329802399565770752 (Ex. 77).
131
    Kim Melody (@u2cldknow), Twitter (Nov. 13, 2020), available at, https://twitter.com/u2cldk
now/status/1327429703414607874 (Ex. 165).

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       134.   Another Twitter user commented on one Minnesota state official’s Twitter page:

“Now review the facts about Dominion software, which was started in Venezuela to rig elections.

Giuliani has whistleblowers from inside Dominion.”132




132
   Theresa (@SystembusterT), Twitter (Nov. 15, 2020), available at, https://twitter.com/Systemb
usterT/status/1328147210203181056/ (Ex. 166).

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          135.   As illustrated in the examples above, as a result of the viral disinformation

campaign, Dominion has been unfairly subjected to the hatred, contempt, and distrust of tens of

millions of American voters, and the elected officials who are Dominion’s actual and potential

customers have received emails, letters, and calls from their constituents demanding that they

avoid contracting with Dominion or using Dominion machines. As a result, elected officials,

insurers, and potential investors have been deterred from dealing with Dominion, putting

Dominion’s contracts in more than two dozen states and hundreds of counties and municipalities

in jeopardy and significantly hampering Dominion’s ability to win new contracts. Based on

Dominion’s historic financial track record, contract pipeline, retention and renewal rates, and new

business capture rates, as well as the nature, severity, pervasiveness, and permanence of the viral

disinformation campaign, current projections show lost profits of $200 million over the next five

years, when reduced to present value.        In addition, the viral disinformation campaign has

irreparably damaged Dominion’s reputation and destroyed the resale value of a business that was

worth between $450 million and $500 million before the viral disinformation campaign.

                    After Dominion Seeks a Retraction, Giuliani Doubles Down

          136.   On December 16, 2020, Dominion sent a 15-page retraction demand letter to

Giuliani’s ally, Sidney Powell, detailing the falsity of the claims that Powell and Giuliani had made

about Dominion at the press conference and during their televised media tours.133

          137.   The letter made headlines in The New York Times, The Washington Post, Forbes,

and other national media outlets, and prompted the Trump Campaign, on December 19, to instruct

its people to preserve and retain all materials that might become relevant in litigation relating to




133
      Retraction Demand Letter from T. Clare and M. Meier to S. Powell (Dec. 16, 2020) (Ex. 3).

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the matter.134 Because of this, Giuliani knew about—and likely read—the retraction demand letter

to Powell—which set forth the falsity of the claims that Giuliani had also been making about

Dominion—by at least December 19, 2020.

       138.    On December 22, Dominion also sent Giuliani a letter demanding that he cease and

desist making false and defamatory claims about Dominion and instructing him to preserve all

materials that might be relevant in litigation about the matter.135

       139.    The letters seem to have had some effect on Giuliani—at least temporarily. On

Twitter and in media appearances from December 21-23, Giuliani reframed his claims to avoid

directly charging Dominion with fraud and election-fixing: instead, he falsely charged “crooked”

election officials of “cheat[ing]” and “fool[ing] around with the machines” and “misus[ing]” the

machines.136 And, he claimed the company “has a history of making – let’s be generous – a lot of




134
    Alan Feuer, Dominion demands that Sidney Powell retract ‘baseless and false allegations’
about voting machines, N.Y. Times (Dec. 17, 2020), available at, https://www.nytimes.com/2020
/12/17/us/dominion-demands-that-sidney-powell-retract-baseless-and-false-allegations-about-
voting-machines.html (Ex. 154); Emma Brown, Dominion sues pro-Trump lawyer Sidney Powell,
seeking more than $1.3 billion, Wash. Post (Jan. 8, 2021), available at, https://www.washingtonp
ost.com/politics/dominion-sues-pro-trump-lawyer-sidney-powell-seeking-more-than-13-
billion/2021/01/08/ebe5dbe0-5106-11eb-b96e-0e54447b23a1_story.html (Ex. 167); Alison
Durkee, Dominion Demands Sidney Powell Retract ‘Knowingly Baseless’ Voting Machine
Conspiracy Theory, Forbes (Dec. 17, 2020), available at, https://www.forbes.com/sites/alisondur
kee/2020/12/17/dominion-demands-sidney-powell-retract-knowingly-baseless-voting-machine-
conspiracy-theory/?sh=4cc7cd453db0 (Ex. 168); Kaitlan Collins, Kevin Liptak & Pamela Brown,
Trump campaign told to preserve all documents related to Sidney Powell and Dominion Voting
Systems, CNN (Dec. 19, 2020), available at, https://www.cnn.com/2020/12/19/politics/trump-
campaign-sidney-powell-dominion-voting-systems/index.html (Ex. 169).
135
    Retraction Demand Letter from T. Clare and M. Meier to R. Giuliani (Dec. 22, 2020) (Ex. 170).
136
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Dec. 21, 2020), available at, https://twitter.com/
RudyGiuliani/status/1340999931616768001 (last visited Jan. 19, 2021) (Ex. 171); Rudy Giuliani
to Newsmax TV: Pennsylvania Lawsuit First of Many Efforts, Newsmax (Dec. 21, 2020), available
at, https://www.newsmax.com/newsmax-tv/rudy-giuliani-pennsylvania-scotus-
lawsuit/2020/12/21/id/1002628/ (last visited Jan. 22, 2021) (Ex. 172).

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mistakes” and having “a very, very questionable background.”137 The change in Giuliani’s tone

appears to have been intentionally calculated to go right up to the line where Giuliani could avoid

defamation liability, while nevertheless reinforcing the falsehood that the election was stolen.

       140.    But Giuliani’s calculated caution did not last long. The day before Christmas Eve,

he broadcast an episode of his Common Sense YouTube show, in which he falsely charged

Dominion with fixing the election with crooked machines that flipped votes from Trump to

Biden.138 In addition to re-running his direct-to-camera advertisements for an “American-owned”

cigar company, Giuliani also warned that a “socialist storm is brewing,” and pitched his audience

on buying paid memberships—costing up to $500 for a lifetime membership—in the “conservative

alternative to the AARP.”139 Giuliani instructed his viewers to use his name when signing up.




137
    Cats At Night Special Guest Rudy Giuliani, 77WABC (Dec. 23, 2020), available at, https://w
ww.youtube.com/watch?v=HZ37DcM-nCM&feature=youtu.be (last visited Jan. 19, 2021) (Ex.
173).
138
    Christmas is NOT CANCELLED, It’s Vital This Year, Rudy Giuliani’s Common Sense
(broadcast from Washington. D.C. Dec. 23, 2020), available at, https://www.youtube.com/watch
?v=FkvvtuVsyUA&list=PLlMn0a7NgIUZIGjQVofrk1M3Ulqdc7_-4&index=5 (last visited Jan.
19, 2021) (Ex. 147).
139
    Id. at 13:30.

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          141.    Giuliani also touted his defamatory falsehoods about Dominion while marketing

gold and silver coins to his viewers, saying “I accomplished a lot in 2020, exposing the truth,” and

warning that “these are uncertain times” and that “[t]he one thing you can count on to protect what

you have worked so hard for is physical gold and silver.”140 He recommended that his viewers

buy gold from “the company you can trust” and told them to “give them a call and tell them Rudy

sent you.” And, Giuliani advised, “if you call them right now, they’ll give you up to $1500 of free

silver on your first order.”




140
      Id. at 21:17.

                                                59
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       142.    On January 2 and January 5, Giuliani again doubled down on his false claims about

Dominion on OAN, his weekday radio show, and his YouTube podcast.141

              Incited by the Big Lie, a Mob Storms the United States Capitol
        and Temporarily Halts the Certification of the 2020 U.S. Presidential Election

       143.    By the night of the election, Giuliani had devised a plan to simply assert, without

evidence, the Big Lie that the election had been stolen. Then, in a flurry of media appearances and

on Twitter, Giuliani and his allies repeatedly told hundreds of millions of people that Dominion

was the thief. Just as Giuliani and his allies intended, the Big Lie went viral on social media as

people tweeted, retweeted, and raged that Dominion had stolen their votes. While some lies—

little lies—flare up on social media and die with the next news cycle, the Big Lie was different.

The harm to Dominion’s business and reputation is unprecedented and irreparable because of how

fervently millions of people believe it. Indeed, hundreds of people believed the Big Lie about

Dominion with such devotion that they took the fight from social media to the United States

Capitol to #StopTheSteal. Americans with no prior criminal records booked hotel rooms, bought

flights, and boarded planes to Washington, D.C., to attend the so-called “Save America” rally and

to storm the Capitol to stop Congress from certifying the results of the “stolen” election. Having

been deceived by Giuliani and his allies into thinking that they were not criminals—but patriots

“Defend[ing] the Republic” from Dominion and its co-conspirators—they then bragged about their

involvement in the crime on social media.



141
   Weekly Briefing Interview with Giuliani, OAN (Jan. 2, 2021), available at, https://app.critical
mention.com/app/#clip/view/74ed09be-0f2b-4c14-b9de-0ca0ad59952b?token=76f4002c-113c-
4d95-b318-b3fe81b0c8b5 (Ex. 174); Chat with the Mayor: Georgia Runoff Looms, 77WABC
(broadcast from Washington, D.C., Jan. 5, 2021), available at, https://wabcradio.com/podcast/rud
y-giuliani/ (last visited Jan. 19, 2021) (Ex. 175); WATCH THIS BEFORE January 6th, Rudy
Giuliani’s Common Sense (Jan. 5, 2021), available at, https://www.iheart.com/podcast/867-rudy-
giulianis-common-sens-72908742/episode/watch-this-before-january-6th-75890773/ (last visited
Jan. 19, 2021) (Ex. 176).

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       144.   A viewer of one of Giuliani’s defamatory podcasts had previously foreshadowed

the violence that later foreseeably resulted from the Big Lie about Dominion, writing in the

comments under Giuliani’s YouTube video: “the fact that this doesnt even include all the dominion

stuff is telling how elaborate and great this fraud is. TRUMP 2020! … if biden is inaugurated,

theres a reason our founding fathers gave us the 2nd amendment.”142




142
    REVEALED: Sworn Evidence of Pervasive Voter Fraud, Rudy Giuliani’s Common Sense
(broadcast from Washington, D.C., Nov. 13, 2020), available at, https://www.youtube.com/watc
h?v=sd-5Xm5PFmg&list=PLlMn0a7NgIUZIGjQVofrk1M3Ulqdc7_-4&index=15 (last visited
Jan. 19, 2021) (Ex. 112).

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       145.    A week before the January 6, 2021 certification, Giuliani’s client Donald Trump

tweeted to his more than 88 million Twitter followers, “Big protest in D.C. on January 6th. Be

there, will be wild!”143

       146.    In the days leading up to the January 6 protest, people promoted the protest

extensively on Facebook and Instagram, and more than 100,000 users posted hashtags affiliated

with the movement, including #StopTheSteal, #FightForTrump, #DoNotCertify, and

#WildProtest.144 The day before the protest, Republican Party officials in Georgia, Texas,

North Carolina, and Oregon circulated a meme calling for “Operation Occupy the Capitol” and

promoting the hashtag #1776Rebel.145

       147.    The evening before the certification and the “Save America” rally protesting it,

Giuliani tweeted out a video, writing “WATCH This Before January 6th!”146 The tweet garnered

over 16,000 likes and 6,000 retweets. The video embedded in it was Giuliani’s January 5, 2020

Common Sense podcast, in which he falsely claimed that “the Dominion machines … switched

6,000 votes … in just one small area.”




143
    Donald J. Trump (@realDonaldTrump) Twitter, (Dec. 20, 2020), available at, https://web.arc
hive.org/web/20201219122053/twitter.com/realdonaldtrump (Ex. 177).
144
    Elizabeth Dwoskin, Facebook’s Sandberg deflected blame for Capitol riot, but new evidence
shows how platform played role, Wash. Post (Jan. 13, 2021), available at, https://www.washingto
npost.com/technology/2021/01/13/facebook-role-in-capitol-protest/ (Ex. 178).
145
    Id.
146
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 5, 2021), available at, https://twitter.com/R
udyGiuliani/status/1346601024149188609 (Ex. 179); Ex. 176.

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       148.     At 7:44 p.m. that evening, Giuliani tweeted “President Trump will be joining us

tomorrow on The Ellipse in Washington, DC! SEE YOU THERE!”147 The tweet generated over

25,000 likes.

       149.     On the morning of January 6, 2020, at 5:54 a.m., Giuliani retweeted a tweet that is

no longer available and wrote “Hope to see you.”148 At 10:28 a.m., he doubled down on the Big

Lie that the election had not been honest, retweeting a video of “[H]istoric crowds in Washington

DC in support of President Trump and honest elections.”149




147
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 5, 2021), available at, https://twitter.com/R
udyGiuliani/status/1346618559108165633 (last visited Jan. 22, 2021) (Ex. 180).
148
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 6, 2021), available at, https://twitter.com/R
udyGiuliani/status/1346772109327032320 (last visited Jan. 19, 2021) (Ex. 181).
149
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 6, 2021), available at, https://twitter.com/R
udyGiuliani/status/1346841161349132289 (last visited Jan. 19, 2021) (Ex. 181).

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       150.    At 10:29 a.m., Giuliani retweeted a tweet by Vernon Jones, who had spoken

alongside Sidney Powell and L. Lin Wood at the “Stop the Steal” rally in Georgia on December

2, 2020.150

       151.    At 10:31 a.m., Giuliani retweeted his January 5 Common Sense YouTube podcast,

repeating the Big Lie about Dominion.151




150
    Sidney Powell, Lin Wood attend ‘Stop the Steal’ rally in Georgia, YouTube (Dec. 2, 2020),
available at, https://www.youtube.com/watch?v=pq-_B5z3QIA (last visited Jan. 19, 2021) (Ex.
44).
151
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 6, 2021), available at, https://twitter.com/R
udyGiuliani/status/1346841734345592832 (last visited Jan. 19, 2021) (Ex. 181).

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       152.   At 10:50 a.m., Giuliani took the stage at the “Save America” protest and doubled

down on the Big Lie that he had first told about Dominion in early November, stating:

              [W]e get to see the machines that are crooked, the ballots that are fraudulent.
              … So, let’s have trial by combat. … [O]ne of the experts who’s examined
              these crooked Dominion machines, has absolutely found what he believes
              is conclusive proof that in the last 10%, 15% of the vote counted, the votes
              were deliberately changed by the same algorithm that was used in cheating
              President Trump and Vice President Pence, same algorithm, same system,
              same thing was done with the same machines. … This election was
              stolen.152




       153.   Around noon, Donald Trump took the stage. Shortly after Trump started speaking,

Giuliani again doubled down on the Big Lie, tweeting out a photo of him along with the caption,

“The truly elected President!”153 That tweet garnered over 10,000 retweets and over 46,000 likes.




152
    Rudy Giuliani Speaks at Washington DC Save America Rally, YouTube (Jan. 6, 2021),
available at, https://www.youtube.com/watch?v=YNIIryv3PW8 (last visited Jan. 19, 2021) (Ex.
182).
153
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 6, 2021), available at, https://twitter.com/R
udyGiuliani/status/1346868458030571521 (last visited Jan. 19, 2021) (Ex. 181).

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       154.   At 12:48 p.m., while Trump was still on stage, Giuliani tweeted, “The Save

America March is to demand an examination of the machines and the ballots the crooks are

concealing.”154 The tweet was retweeted over 10,000 times and garnered over 37,000 likes. Three

minutes later, at 12:51 p.m., while Trump was still on stage, Giuliani retweeted three tweets

containing excerpts of his own rally speech and a fourth tweet that said, “‘I know the courage it




154
   Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 6, 2021), available at, https://twitter.com/R
udyGiuliani/status/1346876415476715524 (last visited Jan. 19, 2021) (Ex. 181).

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takes to be out there.’ Thank you @RudyGiuliani and thank you PATRIOTS! God Bless the

USA!”155

       155.    During his speech, Trump foreseeably repeated the lies that Giuliani and his allies

had told him, stating “there’s theft involved … we will stop the steal.”156 The crowd chanted,

“FIGHT FOR TRUMP! FIGHT FOR TRUMP! FIGHT FOR TRUMP!”157 Trump continued,

“Rudy, you did a great job. He’s got guts. You know what? He’s got guts, unlike a lot of people

in the Republican party. He’s got guts, he fights. He fights.”158

       156.    Trump continued: “if Mike Pence does the right thing, we win the election… All

Vice President Pence has to do is send it back to the States to recertify, and we become president

… We’re going to have to fight much harder and Mike Pence is going to have to come through

for us. … After this, we’re going to walk down and I’ll be there with you. … We’re going to walk

down to the Capitol. … [Y]ou’ll never take back our country with weakness. You have to show

strength, and you have to be strong.”159

       157.    Trump also foreseeably repeated the Big Lie about Dominion that Giuliani, Powell,

and Wood had fed him and—based on that lie—ordered his supporters to march to the Capitol:

               We’ve amassed overwhelming evidence about a fake election. … In
               addition, there is the highly troubling matter of Dominion voting systems.
               In one Michigan County alone, 6,000 votes were switched from Trump to
               Biden, and the same systems are used in the majority of states in our
               country. … There is clear evidence that tens of thousands of votes were
               switched from President Trump to former Vice President Biden in several


155
    Ex. 181.
156
    Donald Trump Speech “Save America” Rally Transcript January 6, Rev.com (Jan. 6, 2021),
available at, https://www.rev.com/transcript-
editor/shared/7Nw_aFgSCwkywakGftVXzVw6NTJEvtBTeS6rNigOo221hgTCjvDEnf_zvai7Hv
5hmGYuImOca6TjcP2GuV0K1i_9pOY?loadFrom=PastedDeeplink&ts=3603.61 (last visited
Jan. 23, 2021) (Ex. 183).
157
    Id.
158
    Id.
159
    Id.

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               counties in Georgia. … This is the most corrupt election in the history,
               maybe of the world. … We must stop the steal. … So we’re going to, we’re
               going to walk down Pennsylvania Avenue … and we’re going to the Capitol
               and we’re going to try and give … our Republicans, the weak ones, because
               the strong ones don’t need any of our help, we’re going to try and give them
               the kind of pride and boldness that they need to take back our country.160

       158.    As Trump concluded his remarks, members of the crowd started marching toward

the Capitol, chanting “STOP THE STEAL! STOP THE STEAL! STOP THE STEAL!”161 A

man in the crowd later told the FBI that he and his cousin had begun marching toward the Capitol

because “President Trump said to do so.”162

       159.    At the end of their march, the horde descended on the Capitol, where lawmakers

were assembled inside to count the Electoral College votes and where Republican Senate Majority

Leader and Trump loyalist Mitch McConnell had called the claims that Giuliani, Powell, Wood,

and their allies had been peddling for months “sweeping conspiracy theories”163 that incited doubt

“without any evidence.”164

       160.    The mob outside harassed police officers posted at the barricades around the

Capitol and started to get physical.165 Others followed suit until they overwhelmed the police and

breached the Capitol’s outer perimeter. 166 One man screamed at a police officer, “[w]e were


160
    Id.
161
    Rosalind S. Helderman, Spencer S. Hsu & Rachel Weiner, ‘Trump said to do so’: Accounts of
rioters who say the president spurred them to rush the Capitol could be pivotal testimony,
Wash. Post (Jan. 16, 2021), available at, https://www.washingtonpost.com/politics/trump-rioters-
testimony/2021/01/16/01b3d5c6-575b-11eb-a931-5b162d0d033d_story.html (Ex. 184).
162
    Id.
163
     Senate Leaders McConnell and Schumer Remarks on Objection to Counting of Electoral
College Votes, CSPAN (Jan. 6, 2021), available at,
https://www.c-span.org/video/?c4933716/senate-leaders-mcconnell-schumer-remarks-objection-
counting-electoral-college-votes.
164
    Id.
165
    Lauren Leatherby, Arielle Ray, Anjali Singhvi, et al., How a Presidential Rally Turned Into a
Capitol Rampage, N.Y. Times (Jan. 12, 2021), available at, https://www.nytimes.com/interactive
/2021/01/12/us/capitol-mob-timeline.html (Ex. 185).
166
    Id.

                                               68
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invited here! We were invited by the President of the United States!”167 Just before 2:00 p.m.,

rioters tore through scaffolding in front of the Capitol’s northwest steps and made their way closer

to the building.168




167
    Drew Harwell (@drewharwell), Twitter (Jan. 13, 2021), available at, https://twitter.com/drew
harwell/status/1349436733889404928?s=20 (Ex. 186).
168
    Ex. 185.

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       161.    After breaching the final barrier on the northwest side of the Capitol, rioters broke

into the building. One of the intruders—Eric Gavelek Munchel—made his way to the Senate

chamber clad in military-style clothing and holding the type of zip ties that can be used as

handcuffs in hostage situations.169




       162.    Munchel had previously posted to Facebook a photograph of himself with a

shotgun, an American flag, and Fox Business on a television screen in the background.170 Fox

Business had given Giuliani and Powell a global platform and endorsed the Big Lie about

Dominion.




169
    Adam Goldman & Kate Benner, The F.B.I. arrests two men who had carried plastic restraints
into the Capitol, N.Y. Times (Jan. 10, 2021), available at, https://www.nytimes.com/2021/01/10/
us/politics/capitol-zip-ties-arrest.html (Ex. 187).
170
    Adam Goldman (@adamgoldmanNYT), Twitter (Jan. 10, 2021), available at, https://twitter.c
om/adamgoldmanNYT/status/1348402331327598592 (Ex. 188).

                                                70
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       163.    Outside the Capitol, the mob grew and beat police officers. Robert Lee Sanford—

a retired firefighter from Pennsylvania who was later charged with throwing a fire extinguisher at

police officers—felt that Trump had instructed him to go to the Capitol.171 More than fifty police

officers were injured in the melee, and Officer Brian Sicknick was struck with a fire

extinguisher.172

       164.    Although Giuliani had been active on Twitter throughout the day, tweeting and

retweeting more than a dozen times between 5:54 a.m. and 12:51 p.m., he remained silent on

Twitter for two hours while rioters brawled with police, smashed windows, and broke into the

United States Capitol.173 During those two hours—while Fox News, C-SPAN, and other networks

were featuring live coverage of the mayhem—neither Giuliani nor Trump told the rioters to stand

down or go home.174

       165.    Instead, while rioters were chanting “Hang Mike Pence” and Vice President Mike

Pence and other lawmakers were under siege inside the Capitol, Trump tweeted at 2:24 p.m.,




171
    Ex. 184.
172
    Peter Hermann & Julie Zauzmer, Beaten, sprayed with mace and hit with stun guns: police
describe injuries to dozens of officers during assault on U.S. Capitol, Wash. Post (Jan. 11, 2021),
available at, https://www.washingtonpost.com/local/public-safety/police-capitol-injuires-
trump/2021/01/11/ca68e3e2-5438-11eb-a08b-f1381ef3d207_story.html (Ex. 189).
173
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 6, 2021), available at, https://twitter.com/R
udyGiuliani (Ex. 181).
174
    Live Updates, Fox News, available at, https://www.foxnews.com/politics/live-updates-pence-
has-power-to-block-certification-trump-says; Protests at the U.S. Capitol, C-SPAN (Jan. 6, 2021),
available, https://www.c-span.org/video/?507772-1/live-protests-us-capitol; Insurrection At The
Capitol: Live Updates, NPR (Jan. 6, 2021), available at, https://www.npr.org/sections/congress-
electoral-college-tally-live-updates; LIVE COVERAGE: Capitol overrun by pro-Trump mobs, The
Hill (Jan. 6, 2021), available at, https://thehill.com/homenews/campaign/532854-live-coverage-
pro-trump-protesters-gather-in-washington; WATCH: U.S. Capitol locked down as Trump
supporters clash with police, PBS (Jan. 6, 2021), available at, https://www.pbs.org/newshour/pol
itics/watch-live-u-s-capitol-locked-down-as-trump-supporters-clash-with-police; D.C. Protests
Live Coverage, Forbes (Jan. 6, 2021), available at, https://www.forbes.com/sites/jemimamcevoy/
2021/01/06/dc-protests-trump-pro-trump-rally-live-coverage/?sh=731763522339.

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“Mike Pence didn’t have the courage to do what should have been done to protect our Country and

our Constitution, giving States a chance to certify a corrected set of facts, not the fraudulent or

inaccurate ones which they were asked to previously certify. USA demands the truth!”175

       166.    At 2:52 p.m., implicitly acknowledging that he, Trump, and their allies had incited

people to sack the United States Capitol, Giuliani tweeted:

               To all those patriots challenging the fraudulent election,
               POTUS wants you to EXPRESS YOUR OPINION PEACEFULLY,
               We are the law and order party,
               You are on the right side of the law and history.
               Act with respect for all.176

       167.    At 3:34 p.m., CBS reported that a woman was in critical condition after being shot

in the neck inside the Capitol. The woman—who later died from her injuries—was Ashli Babbitt,

a fervent Trump supporter who had attempted to break into the Speaker’s Lobby. Babbitt’s Twitter

feed revealed that she watched Fox News and took inspiration from its hosts, commentators, and

guests, retweeting them scores of times in the last year.177

       168.    A little more than half an hour later, at 4:09 p.m., while congressional leaders were

being evacuated from the Capitol, Giuliani retweeted a tweet linking to a Breitbart article about

his speech earlier that day—during which he had repeated the Big Lie about Dominion that he had

been peddling for months.178




175
    Donald J. Trump (@realDonaldTrump), Twitter (Jan. 6, 2021), previously available at,
https://twitter.com/realDonaldTrump/status/1346900434540240897 (Ex. 190).
176
    Ex. 181.
177
    Ailsa Chang, After Deadly Capitol Riot, Fox News Stays Silent On Stars’ Incendiary Rhetoric,
NPR (Jan. 13, 2021), available at, https://www.npr.org/transcripts/955694096 (Ex. 191).
178
    Ex. 181.

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       169.    At 4:17 p.m., Trump tweeted a video of himself saying that his supporters should

“go home now,” but again repeated the Big Lie that the election had been “stolen from us.”179

       170.    In the airport on their way home from Washington, D.C., after the attack on the

Capitol, a crowd surrounded and harassed Congressman Lou Correa, screaming that he was a

“fucking rat,” a “fucker,” a “motherfucker,” and an “elitist,” screaming “my children’s future is

fucked because of motherfuckers like you,” and questioning the legitimacy of his election by

demanding to know if the people who had voted for him had “use[d] Dominion.”180




              Giuliani Tries to Deflect Blame from Himself and Trump for the Riot

       171.    In the aftermath of the storming of the United States Capitol, many acknowledged

that the Big Lie had led to the riot.      For example, when Trump’s former White House



179
    President Trump Tweets out video statement “Go Home in Peace,” KATC News (Jan. 6, 2021),
available at, https://www.katc.com/news/national-news/president-trump-tweets-out-video-
statement-go-home-in-peace (Ex. 192).
180
    Congressman Lou Correa stands up to Trump extremists in the airport, YouTube (Jan. 11,
2021), available at, https://www.youtube.com/watch?v=7rDIE2xpuAE (Ex. 193).

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communications director Alyssa Farah was asked if Trump lied, she said, “he did on the election,

and … people around him know better. We know that the results were not going to be overturned.

We knew that it was a stunt to carry this on for days longer.” And she lamented that “this runaway

train of ‘the election was stolen’ got wind underneath it … if you tell people their vote was stolen

… of course it’s going to end in violence and in riots.”181

       172.    Although both Giuliani and Trump had implicitly acknowledged in their tweets that

Trump supporters had attacked the Capitol, the next day, Giuliani reversed course and tried to

deflect blame from himself and his client for inciting the violence.

       173.    On a January 7 episode of Giuliani’s radio show—while Officer Sicknick lay dying

from injuries he sustained at the hands of rioters the day before—Giuliani blamed the police,

ANTIFA, and D.C.’s mayor for the riot.182 While refusing to accept responsibility for the

consequences of the Big Lie, Giuliani doubled down on it, falsely claiming the Dominion machines

had “algorithms for moving votes” and that Dominion had “fixed the vote.”183 The next day,

Giuliani broadcast another episode of his talk radio show, again doubling down on the lie.184

       174.    The following week, Giuliani inadvertently tweeted out—and then deleted—a

screenshot of text messages he had apparently exchanged with people involved in the storming of




181
    Veronica Stracqualursi, Former Trump communications director says President lied about
2020 election and should consider resigning, CNN (Jan. 8, 2021), available at, https://www.cnn.
com/2021/01/08/politics/alyssa-farah-trump-lied-resignation-cnntv/index.html (Ex. 194).
182
     Chat with the Mayor: Violent Rioters Must be Condemned, 77WABC (broadcast from
Washington, D.C., Jan. 7, 2021), available at, https://wabcradio.com/episode/violent-rioters-must-
be-condemned-01-07-21/ (last visited Jan. 19, 2021) (Ex. 195).
183
    Id.
184
    Chat with the Mayor: Capital Riot Aftermath, 77WABC (broadcast from Washington, D.C.,
Jan. 8, 2021), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 19, 2021)
(Ex. 138).

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the Capitol, in an effort to “expose and place total blame” on “226 members of antifa that instigated

the Capitol ‘riot.’”185




               Giuliani Refuses to Retract His False Accusations About Dominion

        175.    On January 10, 2021, Dominion sent Giuliani another retraction demand letter that

laid out the facts, including that, as a result of Giuliani’s false accusations, Dominion had suffered

enormous harm and its employees had been stalked, had been harassed, and had received death

threats.186




185
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 15, 2021), available at, https://web.archive.
org/web/20210115152314if_/https://twitter.com/rudygiuliani/status/1350100097296691204 (Ex.
196).
186
    Second Retraction Demand Letter from T. Clare and M. Meier to R. Giuliani (Jan. 10, 2021)
(Ex. 197).

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          176.   Giuliani has not retracted his false claims about Dominion, and many of his false

and defamatory television and radio appearances and tweets remain available online to a global

internet audience. Indeed, to this day, he continues to double down on the Big Lie.

                             COUNT ONE – DEFAMATION PER SE


          177.   Dominion repeats and re-alleges each of the forgoing paragraphs as if set forth fully

herein.

          178.   Giuliani made the following false and defamatory statements of fact about

Dominion:

                 (a)    Beginning shortly after November 3, 2020, and continuing to the present
                        day, Giuliani falsely claimed to numerous reporters, media outlets, and
                        global audiences, in words or substance, that Dominion participated in a
                        scheme to fix the 2020 presidential election by manipulating votes and the
                        vote count, that Dominion is owned by or is a front for a company created
                        in Venezuela to rig elections for Hugo Chávez, and that Dominion machines
                        in Antrim County, Michigan flipped votes and had a 68% error rate and an
                        81.9% error rate, proving that the election in Michigan was a fraud. In
                        making these false claims, Giuliani acted in concert with like-minded allies
                        and media outlets that were determined to promote a false preconceived
                        narrative about the 2020 election, and Giuliani expected, intended, foresaw,
                        and facilitated the republication of his false statements to the broadest
                        possible audience.

                 (b)    On November 12, 2020, Giuliani appeared on the Fox Business show “Lou
                        Dobbs Tonight” with Fox personality Lou Dobbs. Dobbs tweeted an
                        embedded video of the interview, which Giuliani retweeted. In the
                        interview, Giuliani falsely stated:

                                Dominion is a company that’s owned by another company called
                                Smartmatic, through intermediary company called Indra.
                                Smartmatic is a company that was formed … by three Venezuelans
                                who were very close to, very close to the dictator, Chávez of
                                Venezuela. And it was formed in order to fix elections. That’s the
                                company that owns Dominion. … [A]ll of its software is
                                Smartmatic software … So we’re using a … company that is owned
                                by Venezuelans who were close to – were close to Chávez, are now
                                close to Maduro, have a history, they were founded as a company to
                                fix elections … I’ll give you another connection, Smartmatic, the
                                company that owns Dominion, well the guy who was running it, was


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                             one of the people who was number two or three in Soros’s change
                             the world organization, Open Society.187




              (c)    On November 13, 2020, Giuliani hosted his radio show, “Chat with the
                     Mayor” on 77WABC radio, from Washington, D.C., during which he
                     falsely stated:

                             We have great concern over Dominion … its software really is
                             Venezuelan, it was called, it’s called Smartmatic. It was invented
                             for, for Hugo Chávez to steal elections. … And with a company
                             owned by two people that are very close to a very big enemy of the
                             United States, Hugo Chávez … We do know in Antrim county,
                             Michigan, … the machine screwed up the vote. The machine flipped
                             the vote. In other words when you pressed down Biden, you got
                             Trump, and when you pressed down Trump you got Biden … but
                             flipping around the machine might not be, might also be a
                             contributor when you consider that this company was expert in it,
                             what it was invented to do.188
              (d)    On November 13, 2020, Giuliani published an episode of—and also tweeted
                     a link to— his podcast “Rudy Giuliani’s Common Sense” from
                     Washington, D.C., in which he falsely stated:



187
    Lou Dobbs Tonight, Fox Business (Nov. 12, 2020), available at, https://twitter.com/LouDobbs
/status/1327024215887851521 (last visited Jan. 20, 2021) (Ex. 109).
188
    Chat with the Mayor: Major Challenges, 77WABC (broadcast from Washington, D.C., Nov.
13, 2020), available at, https://wabcradio.com/episode/major-challenges-11-13-2020/
 (last visited Jan. 18, 2021) (Ex. 110).

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                             Dominion Voting Services was the company that was selected to
                             count the ballots …. It’s going to turn out to be a very strange
                             selection when you learn … where these votes went so they could
                             be manipulated. … And then we’ll take a look at Dominion, and
                             we’ll show you how technologically, they stole the election.189




              (e)    On November 13, 2020, Giuliani appeared on an episode of Steve Bannon’s
                     “War Room: Pandemic” podcast during which he falsely stated:

                             Dominion … it really is a Venezuelan company, it depends
                             completely on the software of Smartmatic. Smartmatic was a
                             company that was developed … to help Chávez steal elections. The
                             software is intended to help to steal elections. And that’s the
                             software that’s embedded within Dominion, and Smartmatic owns a


189
   REVEALED: Sworn Evidence of Pervasive Voter Fraud, Rudy Giuliani’s Common Sense
(broadcast from Washington, D.C., Nov. 13, 2020), available at, https://www.youtube.com/watc
h?v=sd-5Xm5PFmg (last visited Jan. 19, 2021) (Ex. 112); Rudy W. Giuliani (@RudyGiuliani),
Twitter (Nov. 13, 2020), available at, https://twitter.com/RudyGiuliani/status/132737236711133
5937 (last visited Jan. 21, 2021) (Ex. 198).

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                             big piece of Dominion. The company … its roots are Chávisa,
                             Venezuelan roots. 190
              (f)     On November 14, 2020, Giuliani tweeted the following false statement:

                             DOMINION … was a front for SMARTMATIC, who was really
                             doing the computing.191
              (g)     On November 15, 2020, Giuliani hosted his Sunday radio show,
                      “Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan” from
                      Washington, D.C., and falsely stated:

                             There was a big pause. Now it looks like it was instigated by
                             Dominion, and they probably got the word, we got to make up those
                             ballots, and the cheating really went into high gear. And that’s
                             when, at four in the morning, 100,000 votes show up in Michigan,
                             100,000 votes that show up in ash cans, and boxes … the voting
                             machine company … Dominion isn’t what it appears to be. … they
                             use their software, by contract, with a company called Smartmatic.
                             Smartmatic is founded in 2004 by two Venezuelans who were very
                             close to Chávez. It was founded and put together for the specific
                             purpose of stealing elections. It stole elections in Venezuela, stole
                             elections in Argentina … so Dominion is basically a shell for
                             Smartmatic. It’s a company still owned by two Venezuelans, two
                             Venezuelans very close to Maduro, the guy that we’re trying to
                             overthrow in Venezuela. And our votes … we don’t know what
                             they’re doing with it. And here’s one of their specialties, which they
                             did in an Argentinian election I believe, one of their specialties is if
                             you’re going to lose, they immediately figure out where they gotta
                             cut off the vote … [O]ne of the things that Smartmatic specializes
                             in, including, you know, warning you you’re falling too far behind,
                             stop, reset, and start cheating even more, they also know how to
                             spread a vote out, so if they have to catch you up, let’s say by 10,000
                             votes, they don’t do it just in one place, they sprinkle it in throughout
                             a big city. And they, but they made a mistake in Michigan, that’s
                             how it all started. … [T]he machine had 6,000 votes switched from
                             Trump to Biden. … This is a … entity that is rigging our election.
                             This is a Venezuelan-owned company … they may be registered in




190
    Freakout, War Room: Pandemic (Nov. 13, 2020), available at, https://pandemic.warroom.org/
2020/11/13/ep-499-pandemic-farce-w-john-fredericks-and-rudy-giuliani/ (last visited Jan. 22,
2021) (Ex. 221).
191
    Rudy W. Giuliani (@RudyGiuliani), Twitter (Nov. 14, 2020), available at, https://twitter.com/
RudyGiuliani/status/1327616396939948032 (last visited Jan. 18, 2021) (Ex. 111).

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                             Delaware, but the people who own it and funded it are Venezuelans.
                             They did it originally for Chávez. They work with Maduro now.192
              (h)    On November 15, 2020, Giuliani appeared on the Fox Business show
                     “Sunday Morning Futures with Maria Bartiromo” with Fox personality
                     Maria Bartiromo. Giuliani was interviewed from Washington, D.C., and
                     falsely stated:

                             Giuliani: [T]he rigging … went on … [A] company that did the
                             votes in 27 states … uses Venezuela company software that’s been
                             used to steal elections in other countries. … [T]he software that they
                             use is done by a company called Smartmatic, it’s a company that
                             was founded by Chávez and by Chávez’s two allies who still own it.
                             It’s been used to cheat in elections in South America. … Dominion
                             sends everything to Smartmatic. … And this company has tried and
                             true methods for fixing elections by calling a halt to the voting when
                             you’re running too far behind. They’ve done that in prior elections.
                             … One of the chairmen of Smartmatic is a close business associate
                             of George Soros. … In Detroit, we have evidence that 100,000
                             ballots were brought in at 4:30 in the morning and counted and to
                             the extent that our witnesses and there are four of them saw it, and
                             one of them is an ex-employee of Dominion, and according to them
                             every single ballot was for Biden and not only that whatever ballots
                             they could see because they weren’t Republican so they could get
                             closer, every ballot they could see just had Biden’s name on it,
                             nobody else, not even another Democrat. Why does that happen? It
                             happens because you know you’re behind, Dominion notifies you,
                             you call off the counting and then you start doing ballots like this.
                             …
                             Bartiromo: … One source says that the key point to understand is
                             that the Smartmatic system has a back door, that allows it to be or
                             that allows the votes to be mirrored and monitored allowing an
                             intervening party a real-time understanding of how many votes will
                             be needed to gain an electoral advantage. Are you saying the states
                             that use that software did that?
                             Giuliani: I know I can prove that they did it in Michigan. I can prove
                             it, with witnesses. … We have people that I can’t really disclose,
                             that can describe the hardware in great detail. We have some of the
                             people, former government employees, our government employees,
                             and others that were there at the creation of Smartmatic, they can
                             describe it, they can draw it, they can show it, and then we have

192
    Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan: Voter Fraud, 77WABC
(Giuliani’s appearance broadcast from Washington, D.C., Nov. 15, 2020), available at,
https://wabcradio.com/podcast/uncovering-the-truth-with-rudy-giuliani-maria-ryan/ (last visited
Jan. 18, 2021) (Ex. 114).

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                             proof that I can’t disclose yet … I mean, I can’t imagine you’d give
                             a contract to a company, if you went one step further and found out
                             it’s really being run by people that are close to Maduro and
                             Chávez.193




              (i)     On November 18, 2020, Giuliani published an episode of—and also tweeted
                      a link to—his podcast “Rudy Giuliani’s Common Sense” from Washington,
                      D.C., in which he falsely stated:

                             Now let me tell you the history of Smartmatic. … Smartmatic …
                             was founded by two Venezuelans, and two Venezuelans that were
                             very close to the dictator in Venezuela, Chávez. And it was founded
                             for the specific purpose of being able to fix elections. That’s right.
                             The company that is calculating many of our votes in 27 states, the
                             company that’s using the software to count those votes, was founded
                             for the specific purpose of fixing elections. … Dominion is a front
                             for Smartmatic. … Usually, according to the evidence that we have
                             so far … the way Smartmatic fixes an election is to very subtly
                             change votes, so there isn’t some big change in any one particular
                             voting place. So, let’s say you want to make up 50,000 votes in the
                             city of New York. You don’t do it in one place. You don’t do it in
                             two places, three. They use an algorithm in which they spread it out
                             across the city, so they can get you a 2-3% difference over your
                             opponent. This is the formula that they used in Venezuela. This is
                             the formula they used in Argentina. This is the formula they’re
                             known for. That is executed by the Smartmatic algorithms and the

193
    Giuliani: Trump is contesting the election ‘vigorously’ in the courts, Fox News (Giuliani’s
interview broadcast from Washington, D.C., Nov. 15, 2020), available at, https://video.foxnews.c
om/v/6209933935001#sp=show-clips (last visited Jan. 20, 2021) (Ex. 115).

                                               81
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                           Smartmatic software, which, as I said, originates from Venezuela.
                           In other words, we’re using a Venezuelan system to calculate the
                           votes in the United States. We’re using a system that originates from
                           a dictatorship… as the core of our vote calculation and a company
                           whose expertise is subtle changes in votes. … In Antrim County,
                           Michigan, … in one particular machine, they had switched,
                           Dominion had, and Smartmatic, which is the ultimate software, had
                           switched 6,000 votes, had switched 6,000 votes from Trump to
                           Biden. So the poor people of Michigan who went into vote for
                           Trump ended up voting for Biden because the machine and the
                           software that originates with Venezuela, the dictatorship, changed
                           their vote. … One of the other things they do is, they warn you when
                           you’re falling too far behind when the count is going on. … 194




             (j)    On November 18, 2020, Giuliani broadcast his radio show, “Chat with the
                    Mayor” on 77WABC radio, from Washington, D.C., during which he
                    falsely stated:

                           But it isn’t just about the results of the election, it’s about the
                           cheating that goes on in American, in American elections, it’s

194
    American Votes Tallied in Foreign Countries, Rudy Giuliani’s Common Sense (broadcast
from Washington, D.C., Nov. 18, 2020), available at, https://www.youtube.com/watch?v=VOG1
yOjSAd4 (last visited Jan. 18, 2021) (Ex. 117); Rudy W. Giuliani (@RudyGiuliani), Twitter
(Nov. 18, 2020), available at, https://twitter.com/RudyGiuliani/status/1329208126931955715
(last visited Jan. 21, 2021) (Ex. 118).



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                              widespread, and then they use this company called Dominion, which
                              is originally a company from Venezuela that was put together in
                              order to help Chávez win in Venezuela and then Maduro. And it has
                              expertise in subtly changing the vote. Subtle changes in vote. It has
                              an algorithm where, let’s say that want to change 10,000 votes in
                              New York City; they do not do it all in one place. They do it in
                              various places, so that it spreads out so that it’s hard to find, so that
                              it’s 1,000 votes here or 500 votes there, 1,000 is probably too much,
                              250 somewhere, depending on the size of a district. And then they
                              determine if an election is getting out of control like this one was,
                              and they halt like they did here at 2:30 in the morning because Biden
                              was going under, he was getting buried as they counted votes, so
                              they stopped, they re-adjust things, they figure out how many phony
                              mail in ballots they have to bring in...195
               (k)    On November 18, 2020, Giuliani appeared from Washington, D.C., on the
                      Fox Business show “Lou Dobbs Tonight” with Fox personality Lou Dobbs.
                      Dobbs tweeted an embedded video of the interview, which Giuliani
                      retweeted. In the interview, Giuliani falsely stated:

                              Our votes in 27, 28 states that are counted by Dominion … And the
                              company counting it is not Dominion, it’s Smartmatic, which is a
                              company that was founded in 2005 in Venezuela for the specific
                              purpose of fixing elections. That’s their expertise, how to fix
                              elections. They did it a number of times in Venezuela, they did it in
                              Argentina … Well, that’s the company that was counting and
                              calculating on election night. And they did all their old tricks. They
                              stopped it, they also switched votes around, subtly, maybe 10 per
                              district so you don’t notice it. They got caught in Antrim county,
                              which is how we found out about them … We shouldn’t be using
                              this company that was founded by Chávez to call votes in America,
                              because their specialty in Venezuela is cheating. … And they’re
                              using a Venezuelan company as the vote counter which is known
                              for changing votes.196




195
    Chat with the Mayor: Those are the Facts, 77WABC (broadcast from Washington, D.C., Nov.
18, 2020), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 18, 2021)
(Ex. 116).
196
     Giuliani returns to court to argue Trump campaign’s election case, Fox Business
(Giuliani interview broadcast from Washington, D.C., Nov. 18, 2020), available at, https://video.
foxbusiness.com/v/6210778333001?playlist_id=933116636001 (last visited Jan. 18, 2021) (Ex.
119).

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     (l)   On November 19, 2020, Giuliani spoke at a Trump Campaign news
           conference in Washington, D.C., and falsely stated:

                 Dominion. … we used largely a Venezuelan voting machine, in
                 essence, to count our vote … You couldn’t possibly believe that the
                 company counting our vote, with control over our vote is owned by
                 two Venezuelans who were allies of Chávez, are present allies of




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                             Maduro, with a company whose Chairman is a close associate and
                             business partner of George Soros.197
              (m)    On November 19, 2020, Giuliani hosted his radio show, “Chat with the
                     Mayor” on 77WABC radio, during which he falsely stated:

                             The company that does count the votes is a company called
                             Smartmatic. Smartmatic is a Venezuelan product. It was invented
                             to help fix elections in Venezuela, and it did so. And in Argentina.
                             And it is currently owned by two Venezuelans who are close to
                             Nicolás Maduro, the dictator of Venezuela, who we have for the last
                             year and a half been trying to get out of power. … [T]he company
                             counting the votes for the nice people in Michigan are owned by
                             friends of one of the greatest enemies of the United States, and that
                             their specialty is stealing elections. And they were in 27 states. It’s
                             amazing. … [Y]our ballot … goes into the hands of a company that
                             is owned by one of the biggest enemies of the United States … and
                             that’s the state of Venezuela. … I mean, Dominion, Dominion is the
                             overall company that does the contracting, but the real guts of the
                             operation is Smartmatic. And Smartmatic is owned by two
                             Venezuelans who are loyal to Chávez and Maduro.198
              (n)    On November 19, 2020, Giuliani appeared, from Washington, D.C., on the
                     Fox News show “Hannity” with Fox personality Sean Hannity. In the
                     interview, Giuliani falsely stated:

                             At 4:30 in the morning, three or four big trucks pulled into the
                             Detroit center. There were three people left behind who were
                             honest. Two of our people and a Dominion employee. We have
                             their affidavits. Here’s what they saw: they saw a big truck bringing
                             in 100,000 ballots in garbage cans, in wastepaper baskets, in
                             cardboard boxes, and in shopping baskets, and every single one of
                             them was for Biden. And to the extent that they looked at them, it
                             was only for Biden. No down ticket. Now why? Because they
                             didn’t have time for a down ticket. All they had time for is Biden,
                             Biden, Biden, Biden, Biden, Biden, Biden, because they were being




197
    Trump Campaign News Conference on Legal Challenges, CSPAN (Nov. 19, 2020), available
at, https://www.c-span.org/video/?478246-1/trump-campaign-alleges-voter-fraud-states-plans-
lawsuits (last visited Jan. 18, 2021) (Ex. 32).
198
     Chat with the Mayor: Fraud and Lies, 77WABC (Nov. 19, 2020), available at,
https://wabcradio.com/episode/those-are-the-facts-11-18-2020/ (last visited Jan. 19, 2021) (Ex.
120).

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                             notified by Smartmatic in Frankfurt that Biden was way behind,
                             and they’d better come up with a lot more ballots … 199
              (o)     On November 20, 2020, Giuliani hosted his radio show, “Chat with the
                      Mayor” on 77WABC radio, from Washington, D.C., during which he
                      falsely stated:

                             You know we used what are at base Venezuelan counting machines
                             … And I see that, I see that Dominion put out a statement saying
                             that their machines were just wonderful … Just a big lie. A big lie
                             … The owners of Dominion went to Venezuela to visit with the
                             dictator there.    They rely on Smartmatic, Dominion does,
                             Smartmatic software … Smartmatic specializes in algorithms that
                             change elections, and bragged about it. … Basically, the
                             Smartmatic, the Smartmatic software, which is at the core of
                             Dominion.200
              (p)     On November 20, 2020, Giuliani published an episode of his podcast “Rudy
                      Giuliani’s Common Sense” from Washington, D.C. —which he also shared
                      via hyperlink on Twitter on November 23, 2020—in which he falsely stated:

                             And I haven’t gotten at all to the whole situation of Dominion and
                             how the votes were counted in 27 different states by a machine built
                             by a company that began, and continues to be, a company that
                             specializes in voter fraud. … A company that specializes in voter
                             fraud …. The company that counted the ballots in Michigan and
                             most of those states, is a company called Dominion … Dominion
                             doesn’t count the votes. A company called Smartmatic counts the
                             votes. The company was founded in the early 2000s by two
                             Venezuelans extremely close to Chávez, the dictator of Venezuela.
                             They continue to own the company to this day. They were founded
                             for the specific purpose of fixing elections in Venezuela. They fixed
                             elections in Venezuela. They fixed elections in Argentina. … The
                             company is founded by communists who wanted to make sure
                             Chávez and then Maduro were elected regardless of the will of the
                             people … We have a Venezuelan company with Venezuelan voter
                             fraud technology counting our vote? … [T]hey interfered with the
                             vote … [T]his election was stolen. … A company that participated




199
    Giuliani: Dems plotted ‘national conspiracy’ to steal 2020 election, Fox News (Giuliani’s
interview broadcast from Washington, D.C., Nov. 19, 2020), available at, https://video.foxnews.c
om/v/6211099886001?playlist_id=930909813001 (last visited Jan. 19, 2021) (Ex. 121).
200
    Chat with the Mayor: The Mob Was Easier to Deal With, 77WABC (broadcast from
Washington, D.C., Nov. 20, 2020), available at, https://wabcradio.com/episode/the-mob-was-
easier-to-deal-with-11-20-2020/ (last visited Jan. 19, 2021) (Ex. 122).

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                            in the undermining of the vote, Smartmatic, which is a Venezuelan
                            company built to cheat for Chávez and Maduro…201




              (q)    On November 23, 2020, Giuliani hosted his radio show, “Chat with the
                     Mayor” on 77WABC radio, from Washington, D.C., during which he
                     falsely stated:

                            [T]he ultimate calculator of our votes is a company owned by two
                            Venezuelans, who founded that company for the specific purpose of
                            fixing votes for Hugo Chávez. And have done so. And have a
                            record of doing so. I imagine, in the one application that I saw, that
                            when Dominion applies, they do not explain that they send the
                            ballots … to Smartmatic … nor do they explain that they do business
                            with a company, … particularly with regard to these ballots, that is
                            owned and run by two Venezuelans who supported Chávez, support
                            Maduro …. [W]e’ll find out just how deep the intrusion of


201
    Legal Strategy: Multiple Pathways to Victory, Rudy Giuliani’s Common Sense (broadcast
from Washington, D.C., Nov. 20, 2020), available at, https://www.youtube.com/watch?v=H0h6s
RuC8bQ (last visited Jan. 19, 2021) (Ex. 123); Rudy W. Giuliani (@RudyGiuliani), Twitter (Nov.
23, 2020), available at, https://twitter.com/RudyGiuliani/status/1330907010477535239 (last
visited Jan. 21, 2021) (Ex. 199).

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                              Dominion and Smartmatic was into our election. … [T]hey’re allied
                              with Chávez and Maduro.202
               (r)    On November 27, 2020, Giuliani appeared on an episode of Steve Bannon’s
                      “War Room: Pandemic” podcast during which he falsely stated:

                              Dominion is a company that specializes in stealing elections. That’s
                              their expertise. Their roots are Venezuelan. … I think we’ll be able
                              to prove it, scientifically, that they are using Smartmatic software.
                              Smartmatic is a company that was founded for Hugo Chávez to fix
                              elections.203
               (s)    On November 29, Giuliani hosted his Sunday radio show, “Uncovering the
                      Truth with Rudy Giuliani & Dr. Maria Ryan” from Washington, D.C.,
                      During this show, Giuliani falsely stated:

                              [T]here are significant problems with the Dominion machines in
                              Arizona, as there are in Michigan … and in Georgia, very similar.
                              … The machines were loaded beforehand … so this was a plan, you
                              see, this was a plan or scheme.204
               (t)    On December 2, 2020, Giuliani published an episode of—and also tweeted
                      a link to—his podcast “Rudy Giuliani’s Common Sense” from Washington,
                      D.C., in which he falsely stated:

                              Smartmatic, which is a company started in Venezuela, and built for
                              the purpose of stealing elections.205




202
    Chat with the Mayor: Direct Violation, 77WABC (broadcast from Washington, D.C., Nov. 23,
2020), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 19, 2021) (Ex.
200).
203
    Weather the Storm, War Room: Pandemic (Nov. 27, 2020), available at, https://pandemic.war
room.org/2020/11/28/ep-544-pandemic/ (last visited Jan. 22, 2021) (Ex. 222).
204
    Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan: Uncovering Voter Fraud,
77WABC (Nov. 29, 2020), available at, https://wabcradio.com/podcast/uncovering-the-truth-
with-rudy-giuliani-maria-ryan/ (last visited Jan. 19, 2021) (Ex. 201).
205
     The ANSWER Exists in CONSTITUTION, Rudy Giuliani’s Common Sense (Dec. 2,
2020), available at, https://www.youtube.com/watch?v=81hlgki4hk0 (last visited Jan. 19, 2021)
(Ex. 202); Rudy W. Giuliani (@RudyGiuliani), Twitter (Dec. 2, 2020), available at, https://twitte
r.com/RudyGiuliani/status/1334286767080558592 (last visited Jan. 21, 2021) (Ex. 203).

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              (u)     On December 4, 2020, Giuliani tweeted the following false statement:

                             BIG WIN FOR HONEST ELECTIONS.
                             Antrim County Judge in Michigan orders forensic examination of
                             22 Dominion voting machines.
                             This is where the untrustworthy Dominion machine flipped 6000
                             votes from Trump to Biden.
                             Spiking of votes by Dominion happenned [sic] all over the state.206
              (v)     On December 4, 2020, Giuliani appeared, from Washington, D.C., on the
                      One America News Network show, “In Focus with Stephanie Hamill,”
                      during which he made the following false statement:

                             Hamill: So Mayor, we were told this was like the most secure
                             election in U.S. history by officials. What do you say to them?




206
  Rudy W. Giuliani (@RudyGiuliani), Twitter (Dec. 4, 2020), available at, https://twitter.com/
RudyGiuliani/status/1335014224532221952 (last visited Jan. 19, 2021) (Ex. 132).

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                              Giuliani: Either they are the most incompetent officials we’ve ever
                              had, or they’re in bed with Dominion and the phony companies
                              who are involved in getting paid millions to help Biden win.207
               (w)     On December 6, 2020, Giuliani hosted his Sunday radio show, “Uncovering
                       the Truth with Rudy Giuliani & Dr. Maria Ryan,” from Washington, D.C.,
                       and falsely stated:

                              Caller: Regarding the Dominion voting machines, now we know
                              they were designed to cheat with Hugo Chávez and Maduro in
                              Venezuela. We know that they can flip votes because they did flip
                              on one machine from Trump to Biden, 6,000 votes in one county or
                              something.
                              Giuliani: Correct.208
               (x)     On December 11, 2020, Giuliani hosted his radio show, “Chat with the
                       Mayor” on 77WABC radio, from Washington, D.C., during which he
                       falsely stated:

                              Dominion … The machine fraud … And this was a situation in
                              which the machine fraud wasn’t enough because he won by too
                              much … You know when he, so they cheated on the Dominion
                              machines like crazy … Dominion has a horrible history going back
                              to Smartmatic, going back to a Venezuelan company that was built
                              to fix elections, been involved in 8 or 10 fixed elections … In this
                              machine you can change the vote. You can change the vote after
                              it’s cast. You can change it. … it’s a complete fraud machine, and
                              it’s run by, it’s run by two Venezuelans who were close to, close to
                              Chávez, close to Maduro, fixed elections. … This machine is a
                              crooked machine … Plenty of cheating in the machine …209
               (y)     On December 12, 2020, Giuliani appeared on the Fox News show, “Fox and
                       Friends” from Washington, D.C. During this show, he falsely stated:




207
    In Focus with Stephanie Hamill, OAN (Giuliani’s interview broadcast from Washington, D.C.,
Dec. 4, 2020), available at, https://app.criticalmention.com/app/#clip/view/70ebddad-8d73-4e94-
8a7c-7a1897437d92?token=9667991d-a9cf-4554-89fc-7585a7734f37 (last visited Jan. 19, 2021)
(Ex. 204).
208
    Uncovering the Truth with Rudy Giuliani and Dr. Maria Ryan: Uncovering Voter Fraud in
Georgia, 77WABC (broadcast from Washington, D.C., Dec. 6, 2020), available at,
https://wabcradio.com/podcast/uncovering-the-truth-with-rudy-giuliani-maria-ryan/ (last visited
Jan. 19, 2021) (Ex. 205).
209
    Chat with the Mayor: Paxton’s Fighting On, 77WABC (broadcast from Washington, D.C.,
Dec. 11, 2020), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited on Jan. 19,
2021) (Ex. 206).

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                              [W]e have a machine, the Dominion machine that … was developed
                              to steal elections and being used in the states that are involved.210




               (z)    On December 14, 2020, Giuliani appeared on “The Joe Pags Show” from
                      Washington, D.C. During this appearance, Giuliani falsely stated:

                              It shows a 68% error rate of the votes cast in the federal election in
                              Antrim county, Michigan by the Dominion machines. … They
                              don’t count ballots, they calculate ballots. … Here, these machines
                              calculate, they have algorithms, you can cast half a vote and a third
                              of a vote, they can recalculate it as a third of a vote, and they do. …
                              The report says it was not human error, it was done by the machine.
                              Completely done by the machine. Had nothing to do with human
                              error. … 68% error rate, no question. 81.9% rejection rate, no
                              question you can go over it a thousand times if you want, that’s what
                              it is. It shows without any doubt that the election in Michigan for
                              sure was a fraud. And the numbers submitted by Michigan, by the
                              Democrats there are false, fraudulent. They’re criminal.211
              (aa)    On December 14, 2020, Giuliani appeared on Steve Bannon’s “War Room:
                      Pandemic” podcast during which he falsely stated:




210
    Rudy Giuliani on Trump election fight: We have ‘1,000 affidavits from witnesses in 6 different
states,’ Fox News (Dec. 12, 2020), available at, https://video.foxnews.com/v/6215882367001?pl
aylist_id=930909787001 (last visited Jan. 19, 2021) (Ex. 128).
211
    Joe Pags Show, Twitch (Dec. 14, 2020), available at, https://www.twitch.tv/videos/83760173
2?filter=all&sort=time (last visited Jan. 19, 2021) (Ex. 133).

                                                91
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                             The Dominion machine … you can change numbers … they’re not
                             voting machines, they’re calculators, and they’re dishonest
                             calculators built to fix elections.212
             (bb)     On December 15, 2020, Giuliani hosted his radio show, “Chat with the
                      Mayor” on 77WABC radio, from Washington, D.C., during which he
                      falsely stated:

                             What I want to mention is all of the revelations yesterday that you
                             might not have absorbed completely about the corrupt Dominion
                             voting system that was examined in Antrim county, Michigan. 22
                             machines, I still can’t believe the error rate of 62%, 62% error rate.
                             They reject 83% of the ballots, and send them to adjudication … we
                             will never know what happened to all those votes that were
                             improperly cast in a machine that’s made for cheating, that’s, I
                             mean, that’s the whole purpose, the whole purpose of the Dominion
                             system is to cheat …. [T]hey calculate, so you can get a half a vote
                             for Trump, you can get a third of vote for Trump… You can do that
                             if you were a machine that was made way back in Venezuela … in
                             order to help Hugo Chávez steal elections. And you keep that
                             software, you’ve been thrown out of countries, you keep changing
                             your name … right now, the result in Michigan … verging on really
                             illegal and criminal. … These Dominion machines … they’re
                             calculators rather than counters … And that’s part of the way in
                             which they get manipulated. Because algorithms are put in so for
                             every three votes for Biden there’s one vote for Trump. Or every
                             four votes for Biden there’s one vote for Trump …. They’re using
                             Dominion machines in most of the state …. So, the same faulty
                             machines that don’t count but calculate, that use algorithms to figure
                             out the vote, and allow half votes, are being used to count the ballots
                             in this election.213
             (cc)     On December 16, 2020, Giuliani hosted his radio show, “Chat with the
                      Mayor” on 77WABC radio, from Washington, D.C., during which he
                      falsely stated:

                             Caller: Because it’s not just the Dominion machines, the election
                             was really stolen with the fraudulent mail ballots.



212
    Crisis At Our Own Making, War Room: Pandemic (Dec. 14, 2020), available at, https://pande
mic.warroom.org/2020/12/14/ep-582-pandemic-quest-for-justice-w-maggie-vandenberg-john-
eastman-boris-epshteyn-phill-kline-ben-bergquam-mark-finchem/ (last visited Jan. 22, 2021) (Ex.
223).
213
    Chat with the Mayor: We Will Keep Fighting, 77WABC (broadcast from Washington, D.C.,
Dec. 15, 2020), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 19,
2021) (Ex. 207).

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                             Giuliani: You’re right, you’re right. I would say, I would say 60/40,
                             70/30, yeah. Dominion machines contributed.214
             (dd)     On December 16, 2020, Giuliani appeared on Steve Bannon’s “War Room:
                      Pandemic” podcast during which he falsely stated:

                             The report earlier this week … showed that the Dominion machines
                             are completely fraudulent … in the case of the machines we got to
                             examine, 22 of them, they had a 68% error rate. … Missing from
                             them were all the corrections … that would show the corrections
                             that were made, which basically were to switch votes from Trump
                             to Biden. … The 22 machines that we got to examine that had a
                             68% error rate, that means they were wrong more than they were
                             right.215
             (ee)     On December 17, 2020, Giuliani appeared on the “Glenn Beck Program”
                      from Washington, D.C. During this appearance, Giuliani falsely stated:

                             [T]he machines in Michigan … turned out to be 62% inaccurate.216




214
    Chat with the Mayor: Snow Troubles and a Possible Second Shutdown, 77WABC (broadcast
from Washington, D.C., Dec. 16, 2020), available at, https://wabcradio.com/podcast/rudy-giuliani/
(last visited Jan. 19, 2021) (Ex. 208).
215
    One Person One Vote, War Room: Pandemic (Dec. 16, 2020), available at, https://pandemic.
warroom.org/2020/12/16/ep-588-pandemic-one-person-one-vote-w-maggie-vandenberghe-john-
fredericks-michael-leahy-rudy-giuliani/ (last visited Jan. 22, 2021) (Ex. 224).
216
    The Glenn Beck Program, Blaze TV (Dec. 17, 2020), available at, https://twitter.com/glennbe
ck/status/1339722041545555968 (last visited Jan. 19, 2021) (Ex. 135).



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    (ff)   On December 18, 2020, Giuliani published an episode of his podcast “Rudy
           Giuliani’s Common Sense” from Washington, D.C.—which he also shared
           via hyperlink on Twitter on December 21, 2020—in which he falsely stated:

                  So, based on the experts that we’ve had examine the Dominion
                  machine, it’s basically operating on the original Smartmatic-
                  Sequoia software, which was designed to not count a vote, but to
                  calculate a vote. … the barest of due diligence on Dominion voting
                  systems, if you just went on here and Googled it, you would find
                  everything I just told you, including the connection, historic
                  connection to Venezuela and to Smartmatic. …. [In Antrim
                  County, Michigan] 6,000 votes [were] switched from Biden, from
                  Trump, rather, to Biden … the county and the state of course lied
                  and said that it was human error … there was no human error. The
                  machine switched the votes based on some kind of pre-
                  programming. And apparently the machines throughout the state
                  are programed to switch votes. The error rate for the votes cast on
                  these machines was a 68% error rate. … The federal election
                  commission allows a rate of .0008%, so this error rate is, virtually
                  means there was no election. … There was an 81.96 reject rate in
                  the votes cast. And in the machine, these are sent to adjudication.
                  They go to adjudication files where somehow, magically based on


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                             algorithms, they’re recalculated. Why they have to be recalculated
                             is, again, only because you want the flexibility to cheat. … This is
                             the purpose of the machine, the purpose of the machine is to
                             calculate, and not count. … [The vote] certified by those states
                             using this fraudulent voting system are without any doubt false. …
                             [T]hese machines were programmed for insertion of votes …. [T]he
                             machine was horribly manipulated to the point where the vote bears
                             no relationship to anything having to do with reality. … This
                             machine is a fraudulent machine that produced a fraudulent vote.217




             (gg)     On December 19, 2020, Giuliani appeared on Steve Bannon’s “War Room:
                      Pandemic podcast” where he falsely stated:

217
   DISCOVERY: 68% ERROR Rate in Votes PROVES Intentional Fraud, Rudy Giuliani’s
Common Sense (broadcast from Washington, D.C., Dec. 18, 2020), available at, https://www.yo
utube.com/watch?v=UUtmBrgIC9w (last visited Jan. 19, 2021) (Ex. 134);
Rudy W. Giuliani (@RudyGiuliani), Twitter (Dec. 21, 2020), available at, https://twitter.com/Ru
dyGiuliani/status/1341050325751492608 (last visited Jan. 21, 2020) (Ex. 139).

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                              This is a voting machine designed, way back in Venezuela, to fix
                              elections.218
              (hh)    On December 20, 2020, Giuliani hosted his Sunday radio show,
                      “Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan,” from
                      Washington, D.C., and falsely stated:

                              Dominion machines … that in Michigan produced a 62 percent
                              inaccuracy rate, and an 84 percent adjudication rate which means
                              that only 16 percent of the votes in that county were actually cast by
                              people. … [T]he machine was 62 percent inaccurate. … [T]hey
                              belong to a crooked company called Dominion that goes all the way
                              back to a bunch of communists and they’ve been caught cheating in
                              so many elections it’s ridiculous…. I know, for example in Atlanta,
                              in four counties in Atlanta, the officials did not want to certify,
                              because every time they re-ran the vote in the phony Dominion
                              machines, the vote came back different. … These machines, you
                              have to realize, come from a company that developed machines in
                              order to cheat on elections. … And that’s why it can do things like
                              change votes, have fractional votes.219
              (ii)    On December 22, 2020, Giuliani hosted his radio show, “Chat with the
                      Mayor” on 77WABC radio, from Washington, D.C., during which he
                      falsely stated:

                              Giuliani: Why won’t you let them examine the Dominion machines
                              forthwith? Why? Because you know they’re crooked. …
                              Caller: But no one ever mentions the Dominion machines. No one,
                              is anyone going to check them for glitches and doing their fraudulent
                              thing out there? Can you tell me?
                              Giuliani: … the voting machine can’t repeat the election returns
                              twice in a row or three times in a row. It’s not a voting machine, it’s
                              a calculator.220
              (jj)    On December 23, 2020, Giuliani appeared on an episode of 77WABC’s
                      “Bernie & Sid in the Morning” during which he falsely stated:



218
    America Under Attack, War Room: Pandemic (Dec. 19, 2020), available at, https://listen.warr
oom.org/e/ep-597-pandemic-america-under-attack-w-maggie-vandenberghe-tony-shaffer-rudy-
guliani-john-fredericks/ (last visited Jan. 22, 2021) (Ex. 225).
219
    Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan, 77WABC (Dec. 20, 2020),
available at, https://wabcradio.com/episode/uncovering-the-truth-12-20-20/ (last visited Jan. 19,
2021) (Ex. 136).
220
    Chat with the Mayor: Appoint New Electors, 77WABC (broadcast from Washington, D.C.,
Dec. 22, 2020), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 19,
2021) (Ex. 209).

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                            The Dominion machines … we believe from what we saw in
                            Michigan that the machines have an inaccurate vote, that they’re
                            programmed to give Biden somewhere between a 2 and 5%
                            advantage.221




             (kk)    On December 23, 2020, Giuliani published an episode of—and also tweeted
                     a link to—his podcast “Rudy Giuliani’s Common Sense” from Washington,
                     D.C., in which he falsely stated:

                            We can come away and we can tell you how many votes they stole
                            … how many votes they actually did steal, how often they changed
                            the vote around, what that algorithm was that they have in there, and
                            what they were doing utilizing half votes and quarter votes. …
                            [T]hese Dominion crooked machines are calculating machines. …
                            [W]e can go into the memory of the machine and we can show that
                            Trump actually got 6,000 votes, and Biden actually got 3,000 votes;
                            the way you cheated in Antrim County and got caught. You didn’t




221
   Rudy Giuliani Gives An Update On The Election Lawsuits, Bernie & Sid in the Morning,
77WABC (Dec. 23, 2020), available at, https://www.youtube.com/watch?v=gpIn2NXdAA4&fea
ture=emb_logo (last visited Jan. 21, 2021) (Ex. 210); TalkRadio 77 WABC (@77WABCradio),
Twitter (Dec. 23, 2020), available at, https://twitter.com/77WABCradio/status/13418164336978
28864 (last visited Jan. 21. 2021) (Ex. 211).

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                             just do it in Antrim County, you did it throughout America in order
                             to change the result of this election.222




              (ll)   On December 25, 2020, Giuliani published an episode of—and also tweeted
                     a link to—his podcast “Rudy Giuliani’s Common Sense” from Washington,
                     D.C., in which he falsely stated:

                             And then when we did see the machines in Michigan … we found
                             that 82%, 82% of the ballots that went into that machine didn’t get
                             registered immediately. They went off for adjudication because
                             they were found to be not distinct enough. … These machines are
                             quite something, these Dominion machines. … You can change




222
    Christmas is NOT CANCELLED, It’s Vital This Year, Rudy Giuliani’s Common Sense
(broadcast from Washington, D.C., Dec. 23, 2020), available at, https://www.youtube.com/watch
?v=FkvvtuVsyUA (last visited Jan. 19, 2021) (Ex. 147); Rudy W. Giuliani (@RudyGiuliani),
Twitter (Dec. 23, 2020), available at, https://twitter.com/RudyGiuliani/status/1341960025321795
584 (last visited Jan. 21, 2021) (Ex. 212).

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                             votes, you can recalculate votes, you can do things that you’d only
                             want to do if you’re cheating.223




             (mm)    On January 2, 2021, Giuliani appeared on the One America News Network
                     show “Weekly Briefing” during which he falsely stated:

                             And, of course, the Dominion machines were the machines that we
                             used, which are basically built to cheat. … 68% error rate and an
                             82% rejection rate. … You think you go in and vote for Biden or
                             Trump, the machine decides it isn’t clear enough, and it puts it in for
                             adjudication. … That was 82% in Antrim county. And, by the way,
                             in counties surrounding Detroit, three counties, it was over 80%. So




223
   WHO Will Be Our PRESIDENT? The Current State of Our Country, Rudy Giuliani’s Common
Sense (broadcast from Washington, D.C., Dec. 25, 2020), available at, https://www.youtube.com
/watch?v=NAzCECx8XeE (last visited Jan. 19, 2021) (Ex. 162);
Rudy W. Giuliani (@RudyGiuliani), Twitter (Dec. 25, 2020), available at, https://twitter.com/Ru
dyGiuliani/status/1342618055654875138 (last visited Jan. 21, 2021) (Ex. 213).

                                               99
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                               actually, only 20% of the people got the vote for sure that they
                               made.224
              (nn)     On January 4, 2021, Giuliani appeared on the Charlie Kirk Show podcast
                       during which he falsely stated:

                               Those Dominion machines … I’ll show you how they manipulated
                               those machines and changed the vote by 2, 3% … you can actually
                               change the vote. Why would you have a voting machine where you
                               can change the vote, unless you wanted to cheat?225
              (oo)     On January 5, 2021, Giuliani hosted his radio show, “Chat with the Mayor”
                       on 77WABC radio, from Washington, D.C., during which he falsely stated:

                               And this is the way the machines, the Dominion machines cheat.
                               They move the votes to adjudication, but now they’re moving them
                               to provisional ballots. … If they don’t do provisional ballots, they
                               do something else with these cheating machines. 80% to 84% so far
                               of every machine we’ve looked at in Georgia … send 80% of the
                               votes for adjudication. … You only had a 20% chance of voting
                               for him in Georgia because 80% of the ballots go to adjudication …
                               it shows you that it’s a crooked voting machine.226
              (pp)     On January 5, 2021, Giuliani published an episode of—and also tweeted a
                       link to—his podcast “Rudy Giuliani’s Common Sense” in which he falsely
                       stated:

                               And expert witness examination of the Dominion machines, which,
                               at least in the occasion of the 22 machines that have been examined,
                               show that the machines were not only able to be changed in almost
                               any way you wanted to, but in fact were changed, and switched
                               6,000 votes from Biden to Trump [sic], in just one small area.227



224
    Weekly Briefing Interview with Giuliani, OAN (Jan. 2, 2021), available at, https://app.critical
mention.com/app/#clip/view/74ed09be-0f2b-4c14-b9de-0ca0ad59952b?token=76f4002c-113c-
4d95-b318-b3fe81b0c8b5 (Ex. 174).
225
    Flash Update with Mayor Rudy Giuliani, The Charlie Kirk Show (Jan. 4, 2021), available at,
https://podcasts.apple.com/us/podcast/flash-update-with-mayor-rudy-
giuliani/id1460600818?i=1000504332071 (last visited Jan. 21, 2021) (Ex. 214).
226
    Chat with the Mayor: Georgia Runoff Looms, 77WABC (broadcast from Washington, D.C.,
Jan. 5, 2021), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 19, 2021)
(Ex. 175).
227
    WATCH This BEFORE January 6th, Rudy Giuliani’s Common Sense (Jan. 5, 2021), available
at, https://www.iheart.com/podcast/867-rudy-giulianis-common-sens-72908742/ (last visited Jan.
19, 2021) (Ex. 176); Rudy W. Giuliani (@RudyGiuliani), Twitter (Jan. 5, 2021), available at,
https://twitter.com/RudyGiuliani/status/1346601024149188609 (last visited Jan. 21, 2021) (Ex.
179).

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             (qq)    On January 6, 2021, Giuliani attended and spoke at the “Save America
                     Rally” in Washington, D.C., and falsely stated:

                           [T]he machines … are crooked … [O]ne of the experts that has
                           examined these crooked Dominion machines, has absolutely what
                           he believes is conclusive proof that in the last 10%, 15% of the vote
                           counted, the votes were deliberately changed by the same algorithm
                           that was used in cheating President Trump and Vice President
                           Pence, same algorithm, same system, same thing was done with the
                           same machines. … [T]hey programmed that machine from the
                           outside to accomplish that. And they’ve been doing it for years to
                           favor the Democrats. … This election was stolen.228
             (rr)    On January 7, 2021, Giuliani hosted his radio show, “Chat with the Mayor”
                     on 77WABC radio, from Washington, D.C., during which he falsely stated:




228
   Rudy Giuliani Speaks at Washington DC Save America Rally, YouTube (Jan. 6, 2021),
available at, https://www.youtube.com/watch?v=YNIIryv3PW8 (last visited Jan. 19, 2021) (Ex.
182).

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                               22 Dominion machines … fixed the vote. These machines moved
                               6000 votes from Trump to Biden. …. They have algorithms for
                               moving votes.229
              (ss)     On January 8, 2021, Giuliani hosted his radio show, “Chat with the Mayor”
                       on 77WABC radio, from Washington, D.C., during which he falsely stated:

                               Dominion is an extremely sophisticated cyber-attack. And it, you
                               know, it’ll, it’ll take a whole county and it will adjust the vote by
                               1%, 2%, in every, in every machine. It’s not going to, like, they
                               made a mistake in Antrim county, Michigan where they got caught,
                               where they made a 600, 6,000 switch, too fast in one machine …
                               and then you could see the numbers switched in the machine and
                               you could see what phony machines Dominion machines are. …
                               [T]he thing is built to cheat. … [W]hy would the state of Georgia
                               … pay them over $100 million to get a machine that’s built to cheat?
                               Because the people at the top, the governor, and that phony secretary
                               of state, are part of this. They wanted the cheating. I don’t know
                               what they got for it, but they got something for it. … [T]hey have
                               overwhelming evidence that he machines were rigged.230
              (tt)     On January 10, 2021, Giuliani hosted his Sunday radio show, “Uncovering
                       the Truth with Rudy Giuliani & Dr. Maria Ryan,” from Washington, D.C.,
                       and falsely stated:

                               [T]he Dominion machines … were found to be crooked in Antrim,
                               Michigan.231
              (uu)     On January 11, 2021, Giuliani appeared on “The Sara Carter Show” where
                       he falsely stated:

                               [A]ny Dominion machine, I can show fixes votes, gets votes from
                               Europe, actually was used to give Biden more votes than Trump.232


229
    Chat with the Mayor: Violent Rioters Must be Condemned, 77WABC (broadcast from
Washington, D.C. Jan. 7, 2021), available at, https://wabcradio.com/episode/violent-rioters-must-
be-condemned-01-07-21/ (last visited Jan. 19, 2021) (Ex. 195).
230
    Chat with the Mayor: Capital Riot Aftermath, 77WABC (broadcast from Washington, D.C.
Jan. 8, 2021), available at, https://wabcradio.com/podcast/rudy-giuliani/ (last visited Jan. 19, 2021)
(Ex. 138).
231
    Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan, 77WABC (Jan. 10, 2021),
available at, https://wabcradio.com/podcast/uncovering-the-truth-with-rudy-giuliani-maria-ryan/
(last visited Jan. 19, 2021) (Ex. 215).
232
    Rudy Giuliani: Pres. Trump is going to speak to the American people, The Sara Carter Show
(Jan. 11, 2021), available at, https://www.spreaker.com/user/10614200/sara-carter-01112021-
rudygiuliani-
censor?utm_medium=widget&utm_source=user%3A10614200&utm_term=episode_title (last
visited Jan. 19, 2021) (Ex. 216).

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             (vv)     On January 15, 2021, Giuliani published an episode of—and also tweeted a
                 link to—his podcast “Rudy Giuliani’s Common Sense” in which he falsely
                 stated:

                            [C]ertain states actually voted for Trump, rather than for Biden …
                            for each one of those states I have enormous amount of proof that
                            what I’m saying is true … I have examinations of the crooked
                            Dominion machines.233




             (ww) On January 17, 2021, Giuliani hosted his Sunday radio show, “Uncovering
                the Truth with Rudy Giuliani & Dr. Maria Ryan,” from Washington, D.C., and
                falsely stated:

                            Caller: What do you make of the research from the MyPillow guy,
                            Mike Lindell? ….


233
   This Has NEVER Occurred in U.S. History, Rudy Giuliani’s Common Sense (Jan. 15, 2021),
available at, https://www.iheart.com/podcast/867-rudy-giulianis-common-sens-
72908742/episode/this-has-never-occurred-in-us-76308324/ (last visited Jan. 19, 2021) (Ex.
137).

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                              Giuliani: He’s got a very, very important point. … The reality is
                              that Mr. Lindell and Colonel Waldron although slightly different
                              methodologies, can point out that the machines were rigged to create
                              a result. And there were even formulas that they can find, like for
                              every 8 votes that Biden got, Trump got two. And machines were
                              set differently in different places. Even fractions, so, I’ll give you
                              an example. In the parts of Atlanta where Trump was going to be a
                              big winner, they couldn’t make him a loser, but they took him down
                              by three, four percent … So you shave just four percent. Hard to
                              notice. … But then, it deprives you of the numbers in the rural areas
                              that offset your loss in the city. That’s the kind of stuff the
                              Dominion machines does all over.234
              (xx)    On January 21, 2021, Giuliani appeared on “The Joe Pags Show” during
                  which he falsely stated:

                              I’d love to take discovery on Dominion … and then to show you
                              how the machine works, where you can change votes, and where
                              80% of the votes end up in adjudication which means only 20% of
                              the votes get registered the way you put it in.235
              (yy)    On January 22, 2021, Giuliani hosted his weekday radio show, “Chat with
                  the Mayor,” during which he falsely stated:

                              Dominion is a voting machine, I’ll just tell you one thing about it,
                              you can change the vote. If you can change the vote in a voting
                              machine, then it’s built for one purpose and one purpose alone, and
                              that’s to cheat. … It computes votes, rather than just counts them
                              … so long as you have Dominion, there is a clear and present danger
                              that there’s going to be a bump of 2, 3, 4 percent for whomever they
                              want to bump it for. …. The facts that there were votes stolen … it
                              has been proven … that evidence is in the form of … the things that
                              are used to program these Dominion machines. It’s evidenced by
                              the examination of the machines in Antrim county, Michigan that
                              showed 6,000 votes changed.236



234
    Uncovering the Truth with Rudy Giuliani & Dr. Maria Ryan: Inauguration Security &
Republican Party Future, 77WABC (Jan. 17, 2021), available at, https://wabcradio.com/podcast
/uncovering-the-truth-with-rudy-giuliani-maria-ryan/ (last visited Jan. 21, 2021) (Ex. 217).
235
    Joe Pags Show, Twitch (Jan 21, 2021), available at, https://www.twitch.tv/videos/882795673
(last visited Jan. 22, 2021) (Ex. 226).
236
    Chat with the Mayor, 77WABC (Jan. 22, 2021), available in relevant part at, https://app.critic
almention.com/app/#clip/view/a6d28d7d-10df-4f50-b601-a9618d30dd27?token=c61d6a3e-
e336-44f7-8438-b22c6611f7fb and https://app.criticalmention.com/app/#clip/view/cfa46023-
a414-45c4-9107-bba054e13868?token=c61d6a3e-e336-44f7-8438-
b22c6611f7fb (last visited Jan. 23, 2021) (Ex. 227).

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       179.    Giuliani’s statements are reasonably understood to be statements of fact about

Dominion, and were understood by people who saw, heard, and read them to be statements of fact

about Dominion.

       180.    Giuliani had no applicable privilege or legal authorization to make these false and

defamatory statements, or if he did, he abused it.

       181.    As set forth above in detail, Giuliani’s statements are false.

       182.    As set forth above in detail, Giuliani published these statements with actual malice,

knowing or recklessly disregarding that they are false, misrepresenting evidence to support his

false accusations; purposefully avoiding or intentionally disregarding abundant and publicly

available evidence, facts, and reliable sources rebutting and disproving his false claims; espousing

inherently improbable accusations; forming and sticking to a false preconceived narrative in spite

of the facts; relying on facially unreliable sources; and—when specifically put on notice of the

truth and asked to retract—doubling down on and republishing his false accusations, all in

furtherance of his plan to financially enrich himself, to maintain and enhance his public profile,

and to ingratiate himself to Donald Trump for money and benefits he expected to receive as a result

of that association, including, but not limited to, a reported $20,000 per day fee.237

       183.    Dominion is entitled to punitive damages under D.C. law because Giuliani’s

defamatory statements were accompanied with spite, malice, ill will, recklessness, wantonness,

willful disregard of Dominion’s rights, and other circumstances tending to aggravate the injury.



237
   See Michael S. Schmidt & Maggie Haberman Giuliani Is Said to Seek $20,000 a Day Payment
for Trump Legal Work, N.Y. Times (Jan. 14, 2020), available at, https://www.nytimes.com/2020/
11/17/us/politics/giuliani-trump-election-pay.html (Ex. 113); Phillip Rucker, Josh Dawsey &
Ashley Parker, Trump is isolated and angry at aides for failing to defend him as he is impeached
again, Wash. Post (Jan. 13, 2021), available at, https://www.washingtonpost.com/politics/trump-
isolated-impeachment/2021/01/13/0595675a-55b6-11eb-a931-5b162d0d033d_story.html             (Ex.
218).

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       184.    Giuliani’s statements are defamatory and defamatory per se. They have exposed

Dominion to the most extreme hatred and contempt. Giuliani has directly accused Dominion of

fraud, election fixing, conspiracy, and bribery, which are serious crimes. For Dominion—whose

business is producing and providing voting systems for elections—there are no accusations that

could do more to damage Dominion’s business or to impugn Dominion’s integrity, ethics, honesty,

and financial integrity. Giuliani’s statements were calculated to—and did in fact—provoke

outrage and cause Dominion enormous harm.

       185.    Acting in concert with allies and media outlets that were determined to promote a

false preconceived narrative about the 2020 election, Giuliani launched a viral disinformation

campaign about Dominion that reached millions of people and caused enormous harm to

Dominion. As a direct, foreseeable, and intentional result of that viral disinformation campaign,

Dominion has suffered the following single and indivisible injuries: Dominion employees have

been stalked, have been harassed, and have received death threats; Dominion has been forced to

make an expenditure of money to remedy the defamation and to protect the lives of its employees;

Dominion has lost profits; and Dominion’s reputation has been irreparably damaged.

       186.    In view of the forgoing, Dominion is entitled to actual, presumed, punitive, and

other damages in an amount to be specifically determined at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Dominion respectfully requests that the Court enter an award and

judgment in its favor, and against Giuliani, as follows:

              (a) awarding Dominion compensatory damages of not less than $651,735,000;

              (b) awarding Dominion punitive damages of not less than $651,735,000; and

              (c) such other and further relief as the Court deems appropriate.




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                                       JURY DEMAND

      Plaintiffs demand a trial by jury on all claims and issues so triable.


Date: January 25, 2021
                                              /s/ Thomas A. Clare, P.C.
                                             Thomas A. Clare, P.C. (D.C. Bar No. 461964)
                                             Megan L. Meier (D.C. Bar No. 985553)
                                             Dustin A. Pusch (D.C. Bar No. 1015069)
                                             10 Prince Street
                                             Alexandria, VA 22314
                                             (202) 628-7400
                                             tom@clarelocke.com
                                             megan@clarelocke.com
                                             dustin@clarelocke.com

                                             Attorneys for Plaintiffs




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